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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

                                  DELAWARE
 ____________________ District of _________________
                                        (State)
 Case number (If known): _________________________ Chapter _____                                                                    Check if this is an
                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               NS8 Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer               8 1          3 5 8 6 0 5 6
                                              ___ ___ – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                 Mailing address, if different from principal place
                                                                                                          of business

                                                            PO Box 34120
                                              ______________________________________________              _______________________________________________
                                              Number     Street                                           Number     Street

                                              ______________________________________________              _______________________________________________
                                                                                                          P.O. Box

                                                  Las Vegas                   NV         89133
                                              ______________________________________________              _______________________________________________
                                              City                        State    ZIP Code               City                      State      ZIP Code


                                                                                                          Location of principal assets, if different from
                                                                                                          principal place of business
                                              ______________________________________________
                                              County                                                      _______________________________________________
                                                                                                          Number     Street

                                                                                                          _______________________________________________

                                                                                                          _______________________________________________
                                                                                                          City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://www.ns8.com/en-us
                                              ____________________________________________________________________________________________________




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Debtor         NS8 Inc.
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             5 ___
                                             ___ 4 ___
                                                   1 ___
                                                       5

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                           
                                                           The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor           NS8 Inc.
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an              Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                           Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have         No
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?_____________________________________________________________________
                                                                             Number          Street

                                                                             ____________________________________________________________________

                                                                             _______________________________________         _______ ________________
                                                                             City                                            State ZIP Code


                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




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                           UNANIMOUS WRITTEN CONSENT
                           OF THE BOARD OF DIRECTORS OF
                                     NS8 INC.

       The undersigned, being all of the members of the Board of Directors (the “Board”) of
NS8 Inc., a Delaware corporation (the “Company”), do hereby consent in writing to the adoption
of the following resolutions, which consent shall have the same force and effect as if duly
adopted at a meeting of the Board of the Company duly called and held in accordance with the
laws of the State of Delaware:


              WHEREAS, in light of the Company’s financial condition, the Board
       determined that it was desirable and in the best interest of the Company to
       formally engage certain professionals to advise the Company on the restructuring
       of the Company, including seeking relief under chapter 11 of title 11 of the
       United States Code (the “Bankruptcy Code”), if advisable; and

              WHEREAS, the Company is in the process of conducting a marketing
       process for the sale of substantially all or a portion of the assets of the Company;
       and

               WHEREAS, the Board has reviewed the materials presented by its financial
       and other advisors and has engaged in numerous and extensive discussions
       (including, without limitation, with management and professional advisors)
       regarding the Company’s financial condition, including its liabilities and liquidity
       position, strategic alternatives available to it, and the impact of the foregoing on
       the Company’s business and operations; and

               WHEREAS, having considered the advice of financial and other advisors,
       the Board has determined that it is desirable and in the best interests of the
       Company and its creditors, employees, and other interested parties that a petition
       be filed by the Company, seeking relief under the provisions of chapter 11 of the
       Bankruptcy Code;

               NOW, THEREFORE, BE IT RESOLVED that, in the judgment of the Board, it
       is desirable and in the best interests of the Company, its creditors, stockholders
       and other interested parties, that a voluntary petition (“Petition”) be filed with the
       United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
       Court”) by the Company under the provisions of the Bankruptcy Code; and it is
       further

               RESOLVED, that Dan Wikel, Chief Restructuring Officer of the Company,
       and Lee Sweigart, Deputy Chief Restructuring Officer of the Company (each, an
       “Authorized Officer” and together, “Authorized Officers”) on behalf of the
       Company be, and each hereby is, authorized, empowered, and directed, in the
       name and on behalf of the Company, to (i) execute and verify the Petition as well
       as all other ancillary documents and to cause such Petition to be filed with the
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Bankruptcy Court commencing a case (the “Bankruptcy Case”) and to make or
cause to be made prior to the execution thereof any modifications to such Petition
or ancillary documents as the Authorized Officer executing and verifying the
Petition shall determine, and (ii) to execute, verify and file or cause to be filed all
petitions, schedules, lists, motions, applications and other papers or documents
necessary or desirable in connection with the foregoing; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting
alone or in any combination, hereby is, authorized, directed and empowered, on
behalf of and in the name of the Company to retain the law firms of Cooley LLP
and Blank Rome LLP to represent the Company as bankruptcy counsel; and in
connection therewith, the Authorized Officers be and each of them, acting alone
or in any combination, hereby is, authorized, directed and empowered, on behalf
of and in the name of the Company to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon the filing of the
Bankruptcy Case, and to cause to be filed appropriate applications for authority to
retain the services of each of Cooley LLP and Blank Rome LLP; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting
alone or in any combination, hereby is, authorized, directed and empowered, on
behalf of and in the name of the Company to retain FTI Consulting, Inc. to serve
as financial advisor for the Company; and in connection therewith, the Authorized
Officers be and each of them, acting alone or in any combination, hereby is,
authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers
prior to and immediately upon the filing of the Bankruptcy Case, and to cause to
be filed appropriate applications for authority to retain the services of FTI
Consulting, Inc.; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting
alone or in any combination, hereby is, authorized, directed and empowered, on
behalf of and in the name of the Company to retain Stretto to serve as the notice,
claims, solicitation and balloting agent in connection with the Bankruptcy Case;
and in connection therewith, the Authorized Officers be, and each of them, acting
alone or in any combination, hereby is, authorized, directed and empowered, on
behalf of and in the name of the Company to execute appropriate retention
agreements, pay appropriate retainers, if required, prior to and immediately upon
the filing of the Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of Stretto; and it is further

        RESOLVED, that the Authorized Officers be, and each of them, acting
alone or in any combination, hereby is, authorized, directed and empowered, on
behalf of and in the name of the Company to employ any other individual and/or
firm as professionals, consultants, financial advisors, or investment bankers to the
Company as are deemed necessary to represent and assist the Company in
carrying out its duties under the Bankruptcy Code, and in connection therewith,
the Authorized Officers be and each of them, acting alone or in any combination,
                                          2
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hereby is, authorized, directed and empowered, on behalf of and in the name of
the Company to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Bankruptcy Case, and to
cause to be filed an appropriate application for authority to retain the services of
such firms; and it is further

        RESOLVED, that in connection with the commencement of any chapter 11
case, that form, terms and provisions of the Senior Secured Superpriority Debtor-
in-Possession Loan and Security Agreement (the “DIP Credit Agreement”) by and
among Invictus Global Management, LLC as investment manager for Invictus
Special Situations Master I, L.P., as administrative agent and collateral agent, the
lenders from time to time party thereto and the Company providing for a credit
facility of up to $10,000,000 million on the closing date of the financing
referenced in this paragraph, which will be secured by certain of the assets of the
Company is hereby approved, adopted and ratified, substantially in the form
provided to the Board but with such additional, modified or revised terms as may
be acceptable to any Authorized Officer as evidenced by her/his execution
thereof; and in connection therewith, the Authorized Officers be, and each of
them, acting alone or in any combination, hereby is, authorized, directed and
empowered, on behalf of and in the name of the Company to (i) enter into any
guarantees and to pledge and grant liens on the Company’s assets as may be
contemplated by or required under the terms of such postpetition financing
agreements and (ii) execute appropriate loan agreements and related ancillary
documents; provided that any material amendments, extensions, supplements or
modifications of the DIP Credit Agreement are subject to review and consent by
the Board; and it is further

        RESOLVED, that Authorized Officers be, and each of them here is, acting
singly or together, authorized and directed in the name of and on behalf of the
Company to (i) enter into negotiations with any interested parties regarding a
purchase of any or all of the assets (of any kind) of the Company or any of the
Company’s direct or indirect subsidiaries, whether pursuant to a plan or otherwise
(such sale, a “Sale”), (ii) execute and deliver an agreement providing for such
Sale (the “Sale Agreement”) in connection with the Sale, (iii) enter into such
additional agreements, consents, certificates, amendments, and instruments as
may be necessary to obtain approval for the transaction contemplated thereby, (iv)
if the Authorized Officers deem it necessary or appropriate, seek approval from
the Bankruptcy Court for authority under the Bankruptcy Code and any other
relevant or applicable federal, state, local, or non-U.S. law to sell such assets in a
Sale, (v) to organize and manage a sale process for such assets, which may take
the form of an auction or any other process, and (vi) enter into such additional
agreements, consents, certificates, amendments, and instructions as may be
necessary to obtain approval for and effect the transaction contemplated thereby;
provided that the foregoing shall be subject to review and consent by the Board in
connection with the Sale or potential Sale of all or a material portion of the assets
of the Company; and it is further

                                          3
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        RESOLVED, that in connection with the Bankruptcy Case, each Authorized
Officer, and such other officers of the Company as the Authorized Officers shall
from time to time designate, be, and each hereby is, authorized and empowered on
behalf of and in the name of the Company, to cause the Company to take such
actions and execute such documents as are necessary to effectuate a Sale or Sales
of the assets of the Company, in a manner determined by the Authorized Officer
to represent the best interests of the Company and its creditors, provided that any
Sale or potential Sale of all or a material portion of the assets of the Company
shall be subject to review and consent by the Board; and it is further

        RESOLVED, that the Authorized Officers be, and each of them acting alone
or in any combination is, hereby authorized, directed and empowered from time to
time in the name and on behalf of the Company, to perform the obligations of the
Company under the Bankruptcy Code, with all such actions to be performed in
such manner, and all such certificates, instruments, guaranties, notices and
documents to be executed and delivered in such form, as the Authorized Officer
performing or executing the same shall approve, and the performance or
execution thereof by such officer shall be conclusive evidence of the approval
thereof by such Officer and by the Company; and it is further

        RESOLVED, that each Authorized Officer and such other officers of the
Company as the Authorized Officers shall designate from time to time, and any
employees or agents (including counsel) designated by or directed by any such
officers, be, and each hereby is, authorized, empowered, and directed, in the name
of and on behalf of the Company, to cause the Company to enter into, execute,
deliver, certify, file, and/or record, and perform such agreements, guaranties,
instruments, motions, notices, affidavits, applications for approvals or rulings of
governmental or regulatory authorities, certificates, consents or other documents,
and to take such other actions, as in the judgment of any such officer shall be or
become necessary, proper, and desirable, to effectuate the successful prosecution
of the Company’s Bankruptcy Case, and the performance or execution thereof by
such officer shall be conclusive evidence of the approval thereof by such Officer
and by the Company; and it is further

         RESOLVED, that any and all past actions heretofore taken by any
Authorized Officers of the company in the name of and on behalf of the Company
in furtherance of any or all of the proceeding resolutions be, and the same hereby
are, ratified, confirmed, and approved.

        RESOLVED, all of the acts and transactions relating to matters contemplated
by the foregoing resolutions, which acts would have been approved by the foregoing
resolutions except that such actions were taken prior to the execution of these
resolutions be, and the same hereby are, ratified, confirmed, and approved.



                         [Signature page follows]
                                         4
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       IN WITNESS WHEREOF, the undersigned, being all the members of the Board of the
Company, have executed this Unanimous Written Consent, in accordance with the Delaware General
Corporation Law and Section 2(j) of the By-Laws of the Company, as of the 26th day of October,
2020.


                                           ________________________________
                                           Tim Daileader



                                           ________________________________
                                           Jeff Babka



                                           ________________________________
                                           Lenard Marcus



                                           ________________________________
                                           Alex Scherbakovsky



                                           ________________________________
                                           Rick Gordon



                                           ________________________________
                                           Brad Twohig
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    NS8 INC.,1                                                   Case No. 20-_____ (___)

                     Debtor.


             CORPORATE OWNERSHIP STATEMENT PURSUANT TO RULES 1007
             AND 7007.1 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

             In accordance with Rules 1007 and 7007.1 of the Federal Rules of Bankruptcy Procedure,

the Debtor submits the following information:

             ☒ The following entities directly or indirectly own 10% or more of any class of the above-

captioned Debtor’s equity interests:

             See attachment

             ☒ (Additional names are attached hereto)

             ☐ There are no entities that directly or indirectly own 10% or more of any class of the

Debtor’s equity interest.




1
 The Debtor and the last four digits of its federal taxpayer identification number is as follows: NS8 Inc. (6056). The
notice address for the Debtor is NS8 Inc., PO Box 34120, Las Vegas, NV 89133.


160257.01000/123985981v.1
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NS8 ‐ Corporate Ownership Statement Schedule
                   Name                             Class         % Ownership                      Full Address
                                                                                9813 Moon Valley,
Adam Rogas                                      Common (CS)          37.9%
                                                                                Las Vegas, NV 89134


                                                                                9813 Moon Valley,
NS8 FP LLC                                      Common (CS)          28.5%
                                                                                Las Vegas, NV 89134

                                                                                43 Post,
David William Hanna Trust 10‐30‐89              Common (CS)          16.5%
                                                                                Irvine, CA 92618

                                                                                4801 Madison Street,
Eric Kay                                        Common (CS)          10.1%
                                                                                Hollywood, FL 33021

                                                                                Lightspeed Venture Partners
                                                                                Attn: Brett Nissenberg
Lightspeed Venture Partners Select IV, L.P     Series A 1 (SA1)      20.3%
                                                                                2200 Sand Hill Rd
                                                                                Menlo Park, CA 94025

                                                                                Lightspeed Venture Partners
                                                                                Attn: Brett Nissenberg
Lightspeed Venture Partners Select III, L.P.   Series A 1 (SA1)      19.6%
                                                                                2200 Sand Hill Rd
                                                                                Menlo Park, CA 94025

                                                                                218 Witherspoon Street
Edison Partners IX L.P.                        Series A 1 (SA1)      19.1%
                                                                                Princeton NJ 8540 USA

                                                                                9 place de la Madeleine
Matignon Alternatif SAS                        Series A 1 (SA1)      14.3%
                                                                                Paris 75008 France

                                                                                9 place de la Madeleine
AVP Capital A FPCI                             Series A 1 (SA1)      12.7%
                                                                                Paris 75008 France

SCP NS8 Investment, LLC                        Series A 2 (SA2)      40.2%      kelefant@sorensoncap.com

                                                                                250 West 55th Street 37th Floor
Lytical Ventures CI, LP                        Series A 2 (SA2)      35.4%
                                                                                New York NY 10019 USA

                                                                                2 Wisconsin Circle, Suite 920
TDF                                            Series A 2 (SA2)      11.6%
                                                                                Chevy Chase, MD 20185

                                               Series Seed‐1A
                                                                                2214 Rock Hill Rd.,
M37 Carried Interest, LLC                      Preferred Stock      100.0%
                                                                                Herndon, VA 20170
                                                   (SS1A)

                                                Series Seed‐1
                                                                                218 Witherspoon Street
Edison Partners IX L.P.                        Preferred Stock       55.1%
                                                                                Princeton, NJ 8540 USA
                                                    (SS1)

                                                Series Seed‐1
                                                                                1577 Spring Hill Rd. Ste.#405,
Fedora Blanco, LLC                             Preferred Stock       25.7%
                                                                                Vienna, VA 22182
                                                    (SS1)

                                                Series Seed‐2
                                                                                1577 Spring Hill Rd. Ste. #405,
Blu Venture Investors, LLC                     Preferred Stock       23.0%
                                                                                Vienna, VA 22182
                                                    (SS2)

                                                Series Seed‐2
                                                                                120 Park Avenue,
Bloomberg Beta 2016 L.P.                       Preferred Stock       17.0%
                                                                                New York, NY 10017‐5577
                                                    (SS2)

                                                Series Seed‐2
                                                                                901 S Bond Street, Suite 400
NextGen NS8 LLC                                Preferred Stock       16.4%
                                                                                Baltimore, MD 21231
                                                    (SS2)

                                                Series Seed‐2
                                                                                2 Wisconsin Circle, Suite 920
TDF                                            Preferred Stock       11.1%
                                                                                Chevy Chase, MD 20185
                                                    (SS2)

                                                Series Seed‐3
                                                                                218 Witherspoon Street
Edison Partners IX L.P.                        Preferred Stock       60.8%
                                                                                Princeton NJ, 8540 USA
                                                    (SS3)

                                                Series Seed‐3
                                                                                2 Wisconsin Circle, Suite 920
TDF                                            Preferred Stock       16.9%
                                                                                Chevy Chase, MD 20185
                                                    (SS3)

                                                Series Seed‐3
                                                                                1577 Spring Hill Rd. Ste. #405,
Blu Venture Investors, LLC                     Preferred Stock       10.2%
                                                                                Vienna, VA 22182
                                                    (SS3)
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


 In re:                                                          Chapter 11

 NS8 INC.,1                                                      Case No. 20-_____ (___)

                   Debtor.


                             CERTIFICATION OF CREDITOR MATRIX

       Pursuant to Rule 1007-2 of the Local Rules of Bankruptcy Practice and Procedure for the
United States Bankruptcy Court for the District of Delaware, the above captioned debtor (the
“Debtor”) hereby certifies that the Creditor Matrix submitted herewith contains the names and
addresses of the Debtor’s creditors. To the best of the Debtor’s knowledge, the Creditor Matrix
is complete, correct, and consistent with the Debtor’s books and records.

       The information contained herein is based upon a review of the Debtor’s books and
records as of the petition date. However, no comprehensive legal and/or factual investigations
with regard to possible defenses to any claims set forth in the Creditor Matrix have been
completed. Therefore, the listing does not, and should not, be deemed to constitute: (1) a waiver
of any defense to any listed claims; (2) an acknowledgement of the allowability of any listed
claims; and/or (3) a waiver of any other right or legal position of the Debtor.




1
  The Debtor and the last four digits of its federal taxpayer identification number is as follows: NS8 Inc. (6056). The
notice address for the Debtor is PO Box 34120, Las Vegas, NV 89133.


236259445 v1
                                                                         Case 20-12702-CSS                               Doc Creditor
                                                                                                                             1 Filed  Matrix
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                          Name                                        Attention                                     Address1                           Address2                  Address3              City         State       Zip        Country
   16th Street Partners                                 Attn. Parking Office               1601 Washington Ave Suite 195                                                                    Miami Beach           FL        33139
   360 NW 27th Street Tenant LLC                                                           360 Northwest 27th Street                                                                        Miami                 FL        33127
   3Pillar Global Inc                                                                      3975 Fair Ridge Dr                           STE 200S                                            Fairfax               VA        22033
   4Over                                                                                   5900 San Fernando Rd #B                                                                          Glendale              CA        91202
   4You Accountancy                                                                        25 Maerten Trompstraat                                                                           Delft                           2628 RC      Netherlands
   9to9 Malaysia                                                                           Wisma Sulisam, No 5, Jalan Pemaju U1/15      Hicom Glenmarie Industrial Park   Shah Alam         Selangor                        40150        Malaysia
   9to9 Online                                                                             Jl. Imam Bonjol Baru No. 7 Blok RTN 03       Karawaci                                            Tangerang                       15115        Indonesia
   A2Z Ozone                                                                               1844 Cargo Court                                                                                 Louisville            KY        40299
   A5SneakersUK                                                                            1803 W. Detweiller Drive                                                                         Peoria                IL        61615
   Aaron Barnett                                                                           (Address Redacted)
   Ace American Insurance Company                                                          2400 Commerce Way                                                                                Pittsboro,            IN        46112
   Adam Bell dba DataTV LLC                                                                14056 Valleyheart Drive APT #311                                                                 Sherman Oaks          CA        91423
   Adam Rogas                                                                              (Address Redacted)
   Adobe Systems incorporated                                                              29322 Network Place                                                                              Chicago               IL        60673-1293
   Aflac Group Insurance                                                                   PO Box 84069                                                                                     Columbus              GA        31908-4069
   Agbodike,Afamefuna                                                                      (Address Redacted)

   Agilabs Scientists Soft Computing Technologies LLP                                      9th Floor, Prestige Tower Residency Road     Shanthala Nagar Ashok                               Nagar                           560025       India
   Air Purifiers America APA                                                               2929 Longhorn Blvd Ste 103                                                                       Austin                TX        78758
   Air-Purifiers-America                                                                   2929 Longhorn Blvd                                                                               Austin                TX        78758
   Akira Beauty                                                                            1160 Battery Street East                     Suite 100                                           SAN FRANCISCO         CA        94111
   Alain Mayer                                                                             535 Dewey Blvd                                                                                   San Francisco         CA        94116
   Albert deVlieger                                                                        (Address Redacted)
   Alencorp                                                                                9200 Waterford Centre Blvd., Suite 600                                                           Austin                TX        78758
   Alex Fournet - EUR                                                                      85 Boulevard Pasteur                                                                             Paris                           75015        France
   Alex Scherbakovsky                                   Alex Scherbakovsky Marc Lewden     (Address Redacted)
   Alfa Vitamins Store                                                                     4701 NW 77th Avenue                                                                              Miami                 FL        33166
   Alife                                                                                   158 Rivington St                                                                                 New York              NY        10002
   All Africa Imports                                                                      611 Rose Hill Road                                                                               Bethel Springs        TN        38315
   Allen,Patrick R                                                                         (Address Redacted)
   Ally Technologies, Inc.                                                                 10400 4th St #500                                                                                Bellevue              WA        98004
   Altus Partners Inc                                                                      201 KING OF PRUSSIA RD STE 100                                                                   RADNOR                PA        19087-5152
   Amazon                                                                                  410 Terry Avenue                                                                                 Seattle               WA        98109
   Amazon Capital Services, Inc.                                                           Amazon Capital Services                      PO BOX 035184                                       Seattle               WA        98124-5184
   Amazon Web Services, Inc.                                                               P.O. BOX 84023                                                                                   Seattle               WA        98124-8423
   American Express                                                                        200 Vesey Street                                                                                 New York              NY        10281
   Amgrace                                                                                 78 Regent Street                                                                                 Leamington Spa                  CV32 4NS
   Anago                                                                                   1600 East Desert Inn Road                    Ste 250                                             Las Vegas             NV        89169
   Andreini,Stephen                                                                        (Address Redacted)
   Annankra,Daniel                                                                         (Address Redacted)
   Anson Wenzel                                                                            1162 Spanish Armada Road                                                                         Las Vegas             NV        89123
   Anthony Falcon                                                                          4808 Crystal Field Street                                                                        North Las Vegas       NV        89031
   Anvil Advisors, LLC.                                                                    55 Broadway                                  Suite 401                                           New York              NY        10006
   Apex Systems                                                                            3750 Collections Center Drive                                                                    Chicago               IL        60693
   Apple                                                                                   1 Infinite Loop Cupertino                                                                        Cupertino             CA        95014
   Apple Computers - Corporate Account                                                     PO Box 846095                                                                                    Dallas                TX        75284-6095
   Apple, Inc.                                                                             12545 Riata Vista Circle                                                                         Austin                TX        78727
   Apria                                                                                   26220 Enterprise Ct                                                                              Lake Forest           CA        92630
   Arcara,Kippy                                                                            (Address Redacted)
   Archipel Tax Advice B.V.                                                                Lange Voorhout 86-2                                                                              EJ Den Haag                     02514      Netherlands
   Argonaut Insurance Company                                                              10101 Reunion Pl Ste 500                                                                         San Antonio           TX        78216-4156
   Arnold,Charlie                                                                          (Address Redacted)
   Arnold,Marvin                                                                           (Address Redacted)
                                                                                                                                                                                                                                         United
   Ascential Events (Europe) Limited                                                       33 Kingsway                                                                                      London                          WC2B 6UF     Kingdom
   Ascential Inc                                                                           229 West 43rd Street                         7th Floor                                           New York              NY        10036
   Assured Document Destruction, Inc                                                       8050 S Arville St                            Suite 105                                           Las Vegas             NV        89139
   Astound Group                                                                           5675 E Ann Rd STE 101A                                                                           Las Vegas             NV        89115-1702
   At&t                                                                                    PO Box 6463                                                                                      Carol Stream          IL        60197
   Atlassian Corporation Plc                                                               350 Bush Street Floor 13 S                                                                       San Francisco         CA        94104
   Authorize.net                                                                           P.O. Box 8999                                                                                    San Francisco         CA        94128
   AVP Capital A FPCI                                   Alex Scherbakovsky Marc Lewden     9 place de la Madeleine                                                                          Paris                           75008        France
   AVP Capital B FPCI                                   Alex Scherbakovsky Marc Lewden     9 place de la Madeleine                                                                          Paris                           75008        France
   Awara Sleep                                                                             340 S Lemon Ave #9599                                                                            Walnut                CA        91789
   Axis Insurance Company                               AXIS House                         92 Pitts Bay Road                                                                                Pembroke                        HM 08        Bermuda
   Azraels Armoury                                                                         Unit 6, 36-38                                                                                    Arundel               QLD       04214
   B&P Productions                                                                         11493 Roncat Court                                                                               Las Vegas             NV        89141
   B2Group                                                                                 6625 S Valley View                           Suite 310                                           Las Vegas             NV        89118
   Baja Racing Gear                                                                        32981 Calle Perfecto                                                                             San Juan Capistrano   CA        92675
   Balanag,Gabriel M                                                                       (Address Redacted)
   Ball,Aaron                                                                              (Address Redacted)
   Bank of America                                      Bank of America Corporate Center   100 North Tryon Street                                                                           Charlotte             NC        28255
   Bantly,Adam                                                                             (Address Redacted)
   BargainJunkie                                                                           1536 1st St,                                                                                     Newton Falls          OH        44444
   Barnett,Aaron Conner                                                                    (Address Redacted)
   Bartlett,John                                                                           (Address Redacted)
   Baruh,Aaron                                                                             (Address Redacted)
   Bautista,Kelly                                                                          (Address Redacted)




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                             Name                       Attention                                Address1                                        Address2                      Address3               City           State       Zip        Country
   Beam,William                                                        (Address Redacted)
   Beckert,George                                                      (Address Redacted)
   BelanJadapur                                                        Belanja Dapur Head Office, Jalan Cikini II No 8A         Mengten                                                   Jakarta                                         Indonesia
   Benavides,Nicholas                                                  (Address Redacted)
   Bettke,Andrew                                                       (Address Redacted)
   BigCommerce Inc                                                     11305 4 Points Drive                                     Building II, Third Floor                                  Austin                TX           78726
   Birlew,Daniel                                                       (Address Redacted)
   Bison Tactical                                                      2041 Broadway FL2                                                                                                  Boulder               CO           80302
   Blanch,Nick                                                         (Address Redacted)
   Blanco,Peter                                                        (Address Redacted)
   Blank Rome LLP                                                      1201 Market Street                                       Suite 800                                                 Wilmington            DE           19801-2535
   Bloomberg Beta 2016 L.P.                                            120 Park Avenue                                                                                                    New York              NY           10017-5577
   Blu Venture Investors, LLC                                          1577 Spring Hill Rd. Ste. #405                                                                                     Vienna                VA           22182
   BNE Marketplace                                                     11 The Circuit                                                                                                     Brisbane                           04008      Australia
   BohoPink                                                            3030 Highway 9                                                                                                     Old Bridge            NJ           08857
   BOLD INNOVATION GROUP LTD                                           50 Fultz Blvd Winnipeg                                                                                             Manitoba                           R3Y0L6     CANADA
   Boogie Board                                                        343 Portage Blvd                                                                                                   Kent                  OH           44240
   Bornstein,Benjamin S                                                (Address Redacted)
   Boyd,Adam                                                           (Address Redacted)
   Boyd,Joseph S                                                       (Address Redacted)
   Bradley Twohig                        Bradley Twohig                (Address Redacted)
   British Interiors                                                   17-18 The Hives                                          Mosley Road                           Trafford Park       Manchester                         M171HQ       UK
   Brown,Victor                                                        (Address Redacted)
   Buffalo Builders                                                    2756 N Green Valley Pkway                                #286                                                      Henderson             NV           89014
   BUILTWITH PTY LTD                                                   Level 35 One International Towers100 Barangaroo Avenue                                                             Sydney                NSW          02000
   Burns,Matthew T                                                     (Address Redacted)
   BWG Strategy                                                        15 Maple Street                                          3rd Floor                                                 Summit                NJ           07901
   CAC Specialty                         Billy Kroupa                  250 Filmore St                                           Suite 450                                                 Denver                CO           80206
   Café Du Monde                                                       800 Decatur Street                                                                                                 New Orleans           LA           70116
   California State Controller           Unclaimed Property Division   10600 White Rock Rd, Ste 141                                                                                       Rancho Cordova        CA           95670
   Camp,Stephanie                                                      (Address Redacted)
   Campbell,Benjamin                                                   (Address Redacted)
   Cao,Mike D                                                          (Address Redacted)
   Capgemini Technology Services         Philippe Keraël               147 quai du Président Roosevelt                                                                                    Issy-les-Moulineaux                92130        France
   Capterra                                                            1201 Wilson Blvd 9th Fl                                                                                            Arlington             VA           22209
   Caramanzana,Ian                                                     (Address Redacted)
   Caravel Partners LLC                                                795 Folsom Street, 1st Floor                                                                                       San Francisco         CA           94107
   caseknives.com                                                      W.R. Case & Sons Cutlery Co                              PO Box 4000                                               Bradford              PA           16701
   Catalli,Colton S                                                    (Address Redacted)
   Catalli,Drexel                                                      (Address Redacted)
   Century Link                                                        PO Box 52187                                                                                                       Phoenix               AZ           85072
   ChartHop, Inc.                                                      144 N 7th St                                             320                                                       Brooklyn              NY           11249
   Chenier,Sean                                                        (Address Redacted)
   Chief Digital Advisors                                              2852 Camino Serbal                                                                                                 Carlsbad              CA           92009
   Chih Kuo Ho                                                         (Address Redacted)
   Chris Babeu                                                         4 Melbourne Street                                       #4                                                        Portland,             ME           04101
   Christopher Machin                                                  (Address Redacted)
   Chu,Michael                                                         (Address Redacted)
   Cience Technologies Inc.                                            548 Market St #99737                                                                                               San Francisco         CA           94104-5401
   Circleci                                                            201 Spear St Ste 12                                                                                                San Francisco         CA           94105
   cision US Inc                                                       PO Box 417215                                                                                                      Boston                MA           22241
                                                                                                                                                                                                                                          United
   CloserStill E-commerce Limited                                      The TechnoCentre                                         Coventry University Technology Park   Puma Way            Coventry                           CV1 2TT      Kingdom
   Cloud Expo Asia PTE Ltd                                             72 Anson Road                                            10-05 Anson House                                         Singapore                          79911        Singapore
   Clubhouse Software                                                  201 Allen St                                             Unit #10004                                               New York              NY           10002
   Coan Racing                                                         2277 E North St                                                                                                    Kokomo                IN           46901
   Code Legal                                                          241 West Charleston Blvd.                                Suite 111                                                 LAS VEGAS             NV           89102
   Collins,Christopher F                                               (Address Redacted)
   CONTENTFUL INC                                                      101 Montgomery Street Suite 2050                                                                                   San Francisco         CA           94104
   Continental Casualty Company                                        333 South Wabash Avenue                                                                                            Chicago               IL           60604
   Cooley LLP                                                          11951 Freedom Drive                                                                                                Reston                VA           20190
   Cooper,Leath                                                        (Address Redacted)
   Cornerstone Communications, LTD                                     7812 Ivymount Terrace                                                                                              Potomac               MD           20854
   Corporate Apartment Specialist, Inc                                 401 South Glebe Road                                                                                               Arlington             VA           22204
   Cossman,Jacob                                                       (Address Redacted)
   Costello,Andrea                                                     (Address Redacted)
   Craft Cellars                                                       1345 32 Ave NE                                                                                                     Calgary               AB           T2E 7Z5      Canada
   Craig Brooks                                                        (Address Redacted)
   Crawford Door Sales of Nevada, LTD                                  6225 South Valley View Boulevard                         Suite D                                                   Las Vegas             NV           89118
   CRAZE Vapor Wholesale                                               414 N. Commerce St                                                                                                 Burleson              TX           76028
   Crosby MarketWize Consulting                                        1549 Vine St                                                                                                       Belmont               CA           94002
   Crowell Moring                                                      P.O. Box 75509                                                                                                     Baltimore             MD           21275-5509
   Cruz Rodriguez Tapia                                                510 College Drive Apartment 914                                                                                    Henderson             NV           89015
   Cruz,Kenneth                                                        (Address Redacted)
   CT Corporation                                                      PO Box 4349                                                                                                        Carol Stream          IL           60197-4349
   Cucalon,Juliana                                                     (Address Redacted)
   Cue Anthony Racing                                                  12575 Beatrice Street, #C15                                                                                        Los Angeles           CA           90066
   Cybulski,Jessica                                                    (Address Redacted)




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                           Name                        Attention                                 Address1                                Address2            Address3               City      State       Zip        Country
   Danny Shum CPA PLLC                                                  5220 S. University Dr. #207                                                                     Davie               FL        33328
   Darling,George                                                       (Address Redacted)
   David Hansen                                                         (Address Redacted)
   David Jarrick                                                        (Address Redacted)
   David William Hanna Trust 10-30-89                                   (Address Redacted)
   Davis,Logan Ricky                                                    (Address Redacted)
   DDE Partners, LLC                                                    555 Bryant Street, #310                                                                         Palo Alto           CA        94301
   Dean McDonald                                                        961 Northwest Fresco Way                         Apt 203                                        Jensen Beach        FL        34957
   Death Wish Coffee Co                                                 260 Broadway                                                                                    Saratoga Springs              12866
   Dela Cruz,Arnold                                                     (Address Redacted)
   Delaware Dept of Finance                                             Office of Unclaimed Property                     P.O. Box 8931                                  Wilmington          DE        19899-8931
   Dell                                                                 1 Dell Way                                                                                      Round Rock          TX        78682
   Deloitte Tax LLP                                                     PO Box 844736                                    PO Box 844736                                  Dallas              TX        75284-4736
   Denpasoft                                                            14777 Carmenita Rd                                                                              Norwalk             CT        90650
   Denton,Jon M                                                         (Address Redacted)
   DermaFlash                                                           25982 Town Centre Dr                                                                            Foothill Ranch                92610
   Diab,Patrick                                                         (Address Redacted)
   Digital Envoy Inc                                                    6525 The Corners Parkway NW                      Suite 400                                      Peachtree Corners   GA        30092
   Dimond,Michelle Y                                                    (Address Redacted)
   Dinette,Isaac                                                        (Address Redacted)
   Dinette,James                                                        (Address Redacted)
   displayit                                                            4345 Hamilton Mill Rd                            Suite 100                                      Buford              GA        30518
   djsboardshop                                                         5337 Fremont Ave S.                                                                             Minneapolis         MN        55419
   Docker Inc.                                                          318 Cambridge Ave                                                                               Palo Alto           CA        94306
   DoorDash                                                             901 Market Street 6th Floor                                                                     San Francisco       CA        94103
   Doriott,Christopher                                                  (Address Redacted)
   Drift.com, Inc                                                       222 Berkeley St                                  Floor 6                                        Boston              MA        02116
   DruvStar                                                             6671 South Las Vegas Boulevard                   Suite 210                                      Las Vegas           NV        89119
   Duck Duck Go                                                         20 Paoli Pike                                                                                   Paoli               PA        19301
   Duff & Phelps LLC                                                    12595 Collection Center Drive                                                                   Chicago             IL        60693
   Duffey,Scott                                                         (Address Redacted)
   Dulces Colibri                                                       UNIINTEN, 912 E. 12th St STE B-157                                                              Los Angeles         CA        90021
   Dun & Bradstreet Credibility Corp                                    333 South Hope Street                            13th Floor                                     Los Angeles         CA        90071
   Dunn,Cameron                                                         (Address Redacted)
                                                                                                                                                                                                                   United
   e2y Limited                                                          Ntt House Waterfront Business Park, Fleet Road                                                  Fleet                         GU51 3QT     Kingdom
   Easterwood,Carmen                                                    (Address Redacted)
   Easy CPAP                                                            PO BOX1026                                                                                      Hamilton Central              QLD 4007     Australia
   eCom Advisory LLC                                                    15 Maple Street                                  3rd Floor                                      Summit              NJ        07901
                                                                                                                                                                                                                   United
   eCommerce MasterPlan                                                 PO Box 740                                       Truro                                          Cornwall                      TR1 9HE      Kingdom
   Edison Partners IX L.P.                Lenard Marcus                 218 Witherspoon Street                                                                          Princeton           NJ        08540
   Edison Partners IX, LP                                               Attn Accounting                                  281 Witherspoon Street, Suite 300              Princeton           NJ        08540
   Edison Ventures Management LLC                                       281 Witherspoon Street Suite 300                                                                Princeton           NJ        08540
   Edwards,Rosalyn                                                      (Address Redacted)
   Eide Bailly                                                          9139 West Russell Road                           Ste. 200                                       Las Vegas           NV        89148
   Eki,Iyobose                                                          (Address Redacted)
   Elijah                                                               111 N Wabash                                     Suite 2018                                     Chicago             IL        60602
   Employee Network Inc.                                                1040 Vestal Parkway East                                                                        Vestal              NY        13850
   Emry,Courtney                                                        (Address Redacted)
                                                                                                                                                                                                                   United
   Engineer Better                                                      125 Adams Drive                                                                                 Ashford                       TN24 0FX     Kingdom
   ePestSupply                                                          13661 Jupiter Rd Ste 301                                                                        Dallas              TX        75238
   Epstein,Scott                                                        (Address Redacted)
   Eric Kay                                                             (Address Redacted)
   Established LLC                                                      Established LLC                                  85 North St                                    Kennebunkport       ME        04046
   etailinsights                                                        8255 Chapel Hill Rd                                                                             Cary                NC        27513
   ETX Vape                                                             414 N. Commerce St                                                                              Burleson                      76028
   EurekaYa                                                             10200 David Taylor Dr                                                                           Charlotte           NC        28262
   Expensify                                                            88 Kearny St Ste 1600                                                                           San Francisco       CA        94108
   Experian                                                             Newenham House, Northern Cross, Malahide Road                                                   DUBLIN                        D17AY61
   eystudios                                                            114 Townpark Drive                               Suite 100                                      Kennesaw            GA        30144
   EZ Organic                                                           15 Kendall Street                                                                               Clyde               NSW       02142      Australia
   Facebook                                                             1 Hacker Way                                                                                    menlo park          ca        94025-1452
   Fahey,Taylor                                                         (Address Redacted)
   Fedora Blanco, LLC                                                   1577 Spring Hill Rd. Ste.#405                                                                   Vienna              VA        22182
   FiftySix Investments LLC                                             56 Granada Court                                                                                Portola Valley      CA        94028
   FiltaGlobal Pty Ltd                                                  17 Brereton Street                                                                              South Brisbane                04101        Australia
   Fintech Executive Search Consultants                                 7962 Hampton Lake Dr                                                                            Tampa               FL        33647
   Fintechamps B.V.                                                     Prof. Hugo de Vrieslaan 82                                                                      Utrecht                       3571 GK      Netherlands
   FiRa IT Services LLC                                                 7098 LOS BANDEROS AVE                                                                           LAS VEGAS           NV        89179
   Fischer,Aaron                                                        (Address Redacted)
   Fit for Commerce                                                     40 Highland Ave                                                                                 Short Hills         NJ        07078
   Fivetran Inc                                                         405 14th Street                                  Suite 1100                                     Oakland             CA        94612
   Fleece Performance                                                   2400 Commerce Way                                                                               Pittsboro           IN        46112
   Florida State Treasury                 Unclaimed Property Division   200 E Gaines St                                                                                 Tallahassee         FL        32399-0343
   FounderMade                                                          579 Broadway, Unit 4A                                                                           New York            NY        10012
   FragranceOriginal                                                    24214 83rd Ave                                                                                  Bellerose                     11426




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                            Name                                  Attention                           Address1                                    Address2            Address3              City        State       Zip        Country
   Framed Bikes                                                               200 S. Owasso Blvd. E                                                                              St Paul               MN       55117
   Frattaroli,Nicholas                                                        (Address Redacted)
   Freedom Infinity                                                           Herengracht 504                                                                                    Amsterdam                      1017 CB      Netherlands
   Froehlich,Christopher                                                      (Address Redacted)
   FTI Consulting - Forensic and Litigation                                   PO Box 418005                                                                                      Boston                MA       02241-8005
   FTI Consulting - Restructuring                                             227 West Monroe Street                             Suite 900                                       Chicago               IL       60606
   G2.com, Inc                                                                100 South Wacker Drive                                                                             Chicago               IL       60606
   Gabriel Shepherd                                                           (Address Redacted)
   Gaddis Development, LLC                                                    7075 Westpark Ct                                                                                   Las Vegas             NV       89147
   Gains Everyday                                                             9200 NW 39th Ave                                   Ste 130 - 3025                                  Gainesville           FL       32606
   Gallery Dept                                                               7613 Beverly Blvd                                                                                  Los Angeles           CA       90036
   Garcia,Benjamin                                                            (Address Redacted)
   Gartner, Inc.                                                              PO Box 911319                                                                                      Dallas                TX       75391-1319
   Genevieve Lee Haldeman                                                     49 Caselli Avenue                                                                                  San Francisco         CA       94114
   Gensler of Nevada                                                          3883 Howard Hughes Pkwy, Ste. 650                                                                  Las Vegas             NV       89169
   Gensler San Francisco                                                      45 Fremont Street                                  Suite 1500                                      San Francisco         CA       94105
   George Bailey â€“ Kirby                                                    917 Seabury Hill Court                                                                             Las Vegas             NV       89128
   Giardina,Lyell                                                             (Address Redacted)
   Giffen,John K                                                              (Address Redacted)
   GiftPros                                                                   2417 Jericho Tpke Ste 274                                                                          Garden City           NY       11040
   Gilgur,Anton                                                               (Address Redacted)
   Gish,Eric                                                                  (Address Redacted)
   GitHub                                                                     88 Colin P Kelly Jr St                                                                             San Francisco         CA       94107
                                                                                                                                                                                                                           United
   Global Experience Specialists (GES) Ltd - EUR                              Silverstone Drive                                  Gallagher Business Park                         Coventry                       CV6 6PA    Kingdom
   Global Healing                                                             2040 North Loop West Ste. 234                                                                      Houston               TX       77018
   Google                                                                     1600 Amphitheatre Pkwy                                                                             Mountain View         CA       94043
   Grabitusa                                                                  1246 Reamwood Ave                                                                                  Sunnyvale             CA       94089
   Greenhouse Software, Inc.                                                  PO BOX 392683                                                                                      PITTSBURGH            PA       15251-9683
   Groceryshop LLC                                                            622 Third Ave                                      35th Floor                                      New York              NY       10017
   Grounds of Alexandria                                                      Building 7a, 2 Huntley Street                                                                      Alexandria NSW 2015                       Australia
   Gunderson Dettmer                                                          550 Allerton St.                                                                                   Redwood City          CA       94063
   Gurock Software GmbH                                                       PO Box 671423                                                                                      Dallas                TX       75267-1423
   Hadley,Thomas                                                              (Address Redacted)
   Halbert,Katelyn                                                            (Address Redacted)
   Hamblin,Andrew                                                             (Address Redacted)
   Hammitt                                                                    2101 Pacific Coast Hwy                                                                             Hermosa Beach         CA       90254
   Hansen Networks                                                            4255 Dean Martin Dr                                Suite C                                         Las Vegas             NV       89103
   Hao,Kangbo                                                                 (Address Redacted)
   Harris,Brandon                                                             (Address Redacted)
   Hatcher,Nathanael                                                          (Address Redacted)
   Helidirect                                                                 8768 W State Road 236                                                                              Middletown            IN       47356
   Hellmuth & Johnson PLLC                                                    8050 West 78th Street                                                                              Edina                 MN       55439
   Hensley,David                                                              (Address Redacted)
   Herberholz,Mark                                                            (Address Redacted)
   Hicks,Alexander                                                            (Address Redacted)
   Highly Tuned Athletes                                                      579 Hampton St                                                                                     Hampton               VIC      03188        Australia
   Higienis Indonesia                                                         Plaza Bank Index 7th Floor Suite-701               Jl. M.H. Thamrin Kav.57                         Jakarta                        10350        Indonesia
   Hillcrest Venture Partners Fund I-A, LP                                    950 N Isabel St                                                                                    Glendale              CA       91207
   Hireright LLC                                                              3349 Michelson Dr                                                                                  Irvine                CA       92612
   Hogan,Trevor                                                               (Address Redacted)
   Holm,James                                                                 (Address Redacted)
   Hoodrich Lifestyle                                                         Airbox Fulfilment 8 saxon way trading estate                                                       Hardmondsworth                 UB70LW
   Hoover,Joshua                                                              (Address Redacted)
   Hopps,Robert                                                               (Address Redacted)
   Horspool,Brad W                                                            (Address Redacted)
   Host Virtual, Inc.                                                         3941 Park Dr #20337                                                                                El Dorado Hills       CA       95762
   Hound Technology, Inc.                                                     666 Natoma Street                                                                                  San Francisco         CA       94103
   Hryshchankova,Natallia                                                     (Address Redacted)
   HSC Warranty                                                               305 Broadway Seventh, Floor                                                                        NEW YORK              NY       10007
   Hubbell,Samuel                                                             (Address Redacted)
   Hunter Web Services                                                        2810 N Church Street #50754                                                                        Wilmington            DE       19802
   Hunter,Brooklyn                                                            (Address Redacted)
   Huntley,Brian                                                              (Address Redacted)
   Hurley,Michael                                                             (Address Redacted)
                                                                              Wisma Sulisam, No.5, Jalan U1/15,Hicom Glenmarie
   Hush Puppies                                                               Industrial Park                                    Shah Alam                                       Selangor                       40150        Malaysia
   Hutter,Karl                                                                (Address Redacted)
   IC Summits                                                                 67 West Street, #401                               #401                                            Brooklyn              NY       11222
   Importante,Magnolia                                                        (Address Redacted)
   Incorporating Services, Ltd                                                3500 S DuPont Hwy                                                                                  Dover                 DE       19901
   Ingram Micro                                                               3351 michelson drive                               suite 100                                       irvine                CA       92612
   Injured Gadgets                                                            6141 Crooked Creek Rd                                                                              Norcross              GA       30092
   Inline Marketing Partners                                                  4328 Round Lake Road                                                                               Apopka                FL       32712
   Inspirational outdoor Furniture                                            155-163 Balham Hill                                                                                London                         SW129DJ      UK
   Intercom                                                                   KPMG Building, 55 2nd St 4th floor                                                                  San Francisco
   Internal Revenue Service                                                   P.O. Box 7346                                                                                      Philadelphia          PA       19101-7346
   Invictus Global Management                      Cindy Delano               310 Comal Building A                               Suite 229                                       Austin                TX       78702




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                            Name                               Attention                                      Address1                              Address2                  Address3               City    State      Zip         Country
                                                                                                                                                                                                                                  United
   IQPC Limited                                                                       129 Wilton Road                               First Floor                                          London                      SW1V 1JZ     Kingdom
   IRAR Trust FBO Peter Nieh 3600398              IRAR Processing Center              1000 Broadway, Suite 350                                                                           Oakland            CA       94607
   ITP                                                                                8345 Nw 66 St                                 #2000                                                miami              FL       33166
                                                                                                                                                                                                                                  United
   ITS European                                                                       3 Faraday Road                                                                                     Guildford                   GU1 1EA      Kingdom
   Jaber,Nicholas C                                                                   (Address Redacted)
   Jacqueline Long                                                                    (Address Redacted)
   James Holborow                                                                     (Address Redacted)
   Jamf Software                                                                      100 Washington Ave S., Suite 1100                                                                  Minneapolis        MN       55401
   Janmohamed Family Trust                                                            (Address Redacted)
   Jason Hoehn                                                                        342 n croft ave                                                                                    Los angeles        CA       90048
   Jeffrey A. Babka                                                                   16375 Viansa Way                              Unit 202                                             Naples             FL       34110
   JennLynn Photography                                                               8020 South Rainbow Boulevard                  Ste. 100-229                                         Las Vegas          NV       89139
   Jeremy Liew                                                                        (Address Redacted)
   Jessica Cybulski                                                                   (Address Redacted)
   JETBRAINS AMERICAS INC                                                             989 East Hillsdale Blvd. Suite 200                                                                 Foster City        CA       94404
   JFC Landscape LLC                                                                  5483 Mantilla Court                                                                                Las Vegas          NV       89120
   Jfredette                                                                          P.O. Box 2085                                                                                      Chester            VA       23881
                                                                                                                                                                                                                                  United
   JHuskisson LTD - GBP                                                               34 Stoney Street                                                                                   Nottingham                  NG1 1NB      Kingdom
   Joel Mello                                                                         6082 Crown Palms Ave                                                                               Las Vegas          NV       89139
   Johansen,Robert                                                                    (Address Redacted)
   John Brown                                                                         (Address Redacted)
   Johnson,Cheryl                                                                     (Address Redacted)
   Jordan Free                                                                        18674 Smiley Peak Avenue                                                                           Nampa              ID       83687
   JPMorgan Chase & Co.                                                               270 Park Ave.                                                                                      New York           NY       10281
   Julian,Michael                                                                     (Address Redacted)
   JustForMen                                                                         1101 Westchester Ave W                                                                             White Plains       NY       10604
   Kammerud,Margaret                                                                  (Address Redacted)
   Kantola Training Solutions                                                         55 Sunnyside Avenue                                                                                Mill Valley        CA       94941
   Kapoor,Lakshya                                                                     (Address Redacted)
   Kathryn Stewart                                                                    (Address Redacted)
   Katie Phares                                                                       (Address Redacted)
   Katy Temple Media Coaching                                                         350 West Ash St.                              1109                                                 San Diego          CA       92101
   Kaul Infotyche Solutions LLP                                                       43 Residency Rd                               WeWork                                               Bangalore                   560038       India
   Kay Collection                                                                     Jl. Daan Mogot Km 14 No 1                     Cengkareng Barat, Jakarta Barat                      Jakarta                                  Indonesia
   Kay,Eric A                                                                         (Address Redacted)
   Keeper Security, Inc                                                               820 West Jackson Boulevard                    Suite 400                                            Chicago            IL       60607
   KG&R BOOKKEEPING SOLUTIONS                                                         PO BOX 92495                                                                                       HENDERSON          NV       89009
   King,James                                                                         (Address Redacted)
   Kleemann,Tiffany                                                                   (Address Redacted)
   Klein,Alexander J                                                                  (Address Redacted)
   Kleinman,Craig                                                                     (Address Redacted)
   Knak Inc.                                                                          32 Barcham Cresent                                                                                 Ottawa                      K2J 3Z7      Canada
   KnowBe4 Inc.                                                                       33 N. Garden Avenue                           Ste 1200                                             Clearwater         FL       33755
   Koelnmesse GmnH                                                                    Messeplatz 1                                                                                       Koln                        50679        Germany
   Kraft,Kenneth                                                                      (Address Redacted)
   Kreizinger,Alexa                                                                   (Address Redacted)
   Kreyòl Essence                                                                     PO Box 900713                                                                                      Homestead          FL       33090
   LA Vinotheque                                                                      202 Main St                                                                                        Farmington         CT       06032
   Lace Up NY                                                                         1650 Pitkin Ave                                                                                    Brooklyn           NY       11207
   Lackey,Jeffrey H                                                                   (Address Redacted)
   Lattice                                                                            PO Box 207585                                                                                      Dallas             TX       75320
   Lawrence,Erin                                                                      (Address Redacted)
   LeadIQ                                                                             548 Market St                                 PMB 20317                                            San Francisco      CA       94104
   Lee,Dominique                                                                      (Address Redacted)
   Lee,Hae-Ro                                                                         (Address Redacted)
   Lee,Timothy                                                                        (Address Redacted)
   Leenders,Robin                                                                     (Address Redacted)
   LGC 231, LLC                                                                       6140 Brent Thurman Parkway,                   Ste 140                                              Las Vegas          NV       89148
   Lievant Studio S.C.                                                                Paseo de los insurgentes 304116               Col. Jardines del Moral                              Leon                        37160        Mexico
   Life is Beautiful, LLC                                                             701 East Bridger Avenue                       Suite 120                                            Las Vegas          NV       89101
   Lightspeed Venture Partners Select III, L.P.   William H. Taft V Sidney Levinson   Debevoise & Plimpton LLP                      919 Third Avenue                                     New York           NY       10022
   Lightspeed Venture Partners Select IV, L.P     William H. Taft V Sidney Levinson   Debevoise & Plimpton LLP                      919 Third Avenue                                     New York           NY       10022
   LIKELY                                                                             5175 Suth Soto St                                                                                  Vernon, CA         CA       90058
   Lillian & Evan Englund                                                             (Address Redacted)
   Lily Jade                                                                          23411 Hardy Oak Blvd#209                      #209                                                 San Antonio        TX       78258
   LinkedIn                                                                           2029 Stierlin Court                                                                                Mountain View      CA       94043
   LinkedIn Corporation                                                               62228 Collections Center Dr                                                                        Chicago            IL       60693-0622
   LonoLife                                                                           1722 S. Coast Highway Suite 4                                                                      Oceanside                   92054
   Looma                                                                              6190 Powers Ferry Road                                                          Suite 600          Atlanta            GA       30339
   Lost Lake Supplements                                                              PO Box 3068                                                                                        Arlington          WA       98223
   Lucid Software Inc.                                                                10355 S Jordan Gtwy Ste 300                                                                        South Jordan       UT       84095
   Luis Alonso                                                                        158 Linn Lane                                                                                      Las Vegas          NV       89110
   Luman,Aaron                                                                        (Address Redacted)
   Lytical Ventures CI, LP                                                            250 West 55th Street 37th Floor                                                                    New York           NY       10019
   M37 Carried Interest, LLC                                                          2214 Rock Hill Rd.                                                                                 Herndon            VA       20170




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   Maeder,Bradley                                                                       (Address Redacted)
   Magento Association                                                                  P.O. Box 776734                                                                                  Chicago           IL           60677-6734
   Magento, Inc.                                                                        345 Park Avenue                                                                                  San Jose          CA           95110-2704
   Magnetic Minds                                                                       711 Bonita Avenue                                                                                Las Vegas         NV           89104
   MailChimp                                                                            675 Ponce de Leon Ave NE Ste 5000                                                                Atlanta           GA
   MainGear                                                                             206 Market St                                                                                    Kenilworth        NJ           07033
   Major Alarm Co.                                                                      2807 Bechelli Lane                                                                               Redding           CA           96002
   Manley,Rachel                                                                        (Address Redacted)
   Margulis,Joshua                                                                      (Address Redacted)
   Marilyn Jones                                                                        (Address Redacted)
   Marin,Vanessa                                                                        (Address Redacted)
   Mark Herberholz                                                                      (Address Redacted)
   Marketo, Inc Dept 2068                                                               PO Box 122068                                                                                    Dallas            TX           75312
   Marshall,George E                                                                    (Address Redacted)
   Mason,Jonathan                                                                       (Address Redacted)
   Master Care Pest Control                                                             1613 Mexican Poppy St.                                                                           Las Vegas         NV           89128
   Matignon Alternatif SAS                             Alex Scherbakovsky Marc Lewden   9 place de la Madeleine                                                                          Paris                          75008        France
   Matt Zehner                                                                          320 Devon Drive                                                                                  San Rafael        CA           94903
   Matthew Soghoian                                                                     (Address Redacted)
   Max Shine Car Care                                                                   1470 Moonstone                                                                                   Brea              CA           92821
   Maxmind Inc.                                                                         14 Spring St Ste 3                                                                               Waltham           MA           02451
   Mayors Fund for Las Vegas (LIFE)                                                     410 S. Rampart Boulevard Suite #390                                                              Las Vegas         NV           89145
   Mazanec,Brian                                                                        (Address Redacted)
   Mazna,Travis                                                                         (Address Redacted)
   McCoole,Donald D                                                                     (Address Redacted)
   McDonald,Dean                                                                        (Address Redacted)
   McDonald,Luke                                                                        (Address Redacted)
   McLean,Douglas                                                                       (Address Redacted)
   Media Painters                                                                       125 - 2880 Panorama Dr.                                                                          Coquitlam                      V3E2W4       Canada
   Melendez,Gary K                                                                      (Address Redacted)
   Merchant Risk Council                                                                600 Stewart St. #720                                                                             Seattle           WA           98101
   Metadata, Inc.                                                                       880 Harrison Street                          Suite 303C                                          San Francisco     CA           94107
   MFI Medical                                                                          10695 Treena St                                                                                  San Diego         CA           92131
   Michael W. Wellman                                                                   (Address Redacted)
   Michaels Jewelers                                                                    1350 Main St.                                                                                    Springfield       MA           01103
   Michigan Dept of Treasury                           Unclaimed Property Division      P.O. Box 30756                                                                                   Lansing           MI           48909
   Microsoft                                                                            1 Microsoft Way                                                                                  redmond           WA           98052-6399
   Mier,David                                                                           (Address Redacted)
   Mihalyfi,Owen                                                                        (Address Redacted)
   Millennium Trust Company LLC Custodian FBO Justin
   Label IRA                                                                            2001 Spring Road Suite 700                                                                       Oak Brook         IL           60523
   Miller,Jason                                                                         (Address Redacted)
   Mister SFC                                                                           1375 E. Grand Ave #103, Box 242                                                                  Arroyo Grande     CA       93420
   Mode Analytics                                                                       208 Utah Street Suite 400                                                                        San Francisco     CA       94105
   MongoDB                                                                              1633 Broadway 38th Floor                                                                         New York          NY 10019
   MongoDB Inc.                                                                         100 Forest Avenue                                                                                Palo Alto         CA       94301
   Monica Perez                                                                         (Address Redacted)
   Moonridge Foundation                                                                 PO Box 1766                                                                                      Las Vegas         NV           89125
   Moonridge Group                                                                      PO Box 1766                                                                                      Las Vegas         NV           89125
   MP Singapore Pte Ltd                                                                 20 Kallang Ave                               Pico Creative Centre 2nd Floor                      Singapore                      339411       Singapore
   Mucha,Jonathan                                                                       (Address Redacted)
   Muffler Express LTD                                                                  97 Milvan Dr                                                                                     Toronto           ON           M9L1Z7       Canada
   Mulcahey,Jordan                                                                      (Address Redacted)
   MyChoiceSoftware                                                                     23706 Birtcher Drive                                                                             Lake Forest       CA           92630
   MyMedic                                                                              120 North Redwood Road                                                                           North Salt Lake   UT           84054
   National Retail Federation                                                           P.O. Box 823953                                                                                  Philadelphia      PA           19182-3953
   National Ropers Supply                                                               188 County Road 4226                                                                             Decatur           TX           76234
   Natural Genius                                                                       1755 N. Brown Road, Ste 200                                                                      Lawrenceville     GA           30043
   Nazlymova,Elena                                                                      (Address Redacted)
   Ndubuisi,Michael                                                                     (Address Redacted)
   Nectar Sleep                                                                         100 Avebury Boulevard                                                                            Milton Keynes                  MK91FH       UK
   Nelson,Neil                                                                          (Address Redacted)
   Net Applications Inc                                                                 65 Enterprise                                                                                    Aliso Viejo       CA           92656
   Nevada Corporate Giving Council                                                      7800 Foothill Ash Ave                                                                            Las Vegas         NV           89117
   Nevada State Treasurer                              Unclaimed Property Division      555 E Washington Ave, Ste 4200                                                                   Las Vegas         NV           89101
   New Relic                                                                            188 Spear St Ste 1200                                                                            San Francisco     CA           94105
   New Relic, Inc.                                                                      PO Box 101812                                                                                    Pasadena          CA           91189-1812
   NEWA                                                                                 EndyMed Medical Inc.                         4400 Route 9 South                                  Freehold          NJ           07728
   Newbould,Maxwell R                                                                   (Address Redacted)
   NextGen NS8 LLC                                                                      901 S Bond Street, Suite 400                                                                     Baltimore         MD           21231
   NextGen Opportunity Fund I LP, LLC                                                   901 S Bond Street, Suite 400                                                                     Baltimore         MD           21231
   Ngrok LLC                                                                            237 A St #26741                                                                                  San Diego         CA           92101
   Nguyen,Dan                                                                           (Address Redacted)
   Nicholas Marino                                                                      (Address Redacted)
   No High                                                                              NH Naturals LLC                              10620 Southern Highlands Pkwy    Suite 110-386      Las Vegas         NV           89141
   No Last Name,Haleakala                                                               (Address Redacted)
   Noetic                                                                               7640 Northwest 25th Street                                                                       MiamI             FL           33122
   North River Insurance Company                                                        05 Madison Ave                                                                                   Morristown        NJ           07960




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   Noteleaf Inc., dba Insight Data Science                                           201 Spear Street, Suite 1100                                                                San Francisco    CA        94105
   NS8 FP LLC                                                                        9813 Moon Valley                                                                            Las Vegas        NV        89134
   NS8 Holdings B.V.                                                                 Weesperstraat 61                                                                            Amsterdam                  1018VN     Netherlands
   Nth Degree, Inc. - Google LLC                                                     3237 Satellite Boulevard                     Suite 600                                      Duluth           GA        30096
   NuRelm, Inc                                                                       PO Box 5549                                                                                 Pittsburgh       PA        15206
   NV Energy - A1 - Ending #9835                                                     PO BOX 30150                                                                                Reno             NV        89520-3150
   Ocean Nail Supply                                                                 14908 Gwenchris Court                                                                       Paramount        CA        90723
   Office of the U.S. Trustee                         For the District of Delaware   844 N King St #2207                          Lockbox 35                                     Wilmington       DE        19801
   Ohio Bureau of Workers Compensation                                               P.O. Box 89492                                                                              Cleveland        OH        44101-6492
   Old Dominion                                                                      PO Box 742296                                                                               Los Angeles      CA        90074
   Oliver,Bryan                                                                      (Address Redacted)
   One Clipboard inc.                                                                233 Broadway                                 233 Broadway, 28th Floor                       New York         NY        10279
   One World Identity, LLC                                                           179 Franklin Street Floor 3                  One World Identity                             New York         NY        10013
   Oracle                                                                            PO 44471, San Francisco, CA-94144-4471                                                      San Francisco    CA        94144-4471
   Oracle of America, Inc                                                            Bank of America Lockbox Services             15612 Collections Center Drive                 Chicago          IL        60693
   Organic Hemp                                                                      2040 N Loop W                                Suite 234                                      Houston          TX        77018
   osCommerce - EUR                                                                  Harald Ponce de Leon                         Remscheider Str. 96                            Solingen                   42659      Germany
   Outreach Corporation                                                              333 Elliot Ave W Suite 500                                                                  Seattle          WA        98119
   Packagist Conductors UG - EUR                                                     Friedrichstr. 123                                                                           Berlin                     10117      Germany
   Padelford,Vance                                                                   (Address Redacted)
   Paladin Group                                                                     4836 Shumard Lane                                                                           Naperville       IL        60564
   Paloalto Networks                                                                 3000 Tannery Way                                                                            Santa Clara      CA        95054
   Pandora Las Vegas                                                                 115 Festival Plaza Drive # 150                                                              Las Vegas        NV        89135
   Parker,Lindsay                                                                    (Address Redacted)
   Patrick Allen                                                                     (Address Redacted)
   Paul Korol                                                                        (Address Redacted)
   Paycore BV                                                                        Pieter Kiesstraat 7                                                                         Haarlem                    2013 BC      Netherlands
   Paycore BV - Euro                                                                 Koningin Wilhelminalaan 8                                                                   Haarlem                    2012 JK      Netherlands
   Paycore BV (Old do not use)                                                       Pieter Kiesstraat 7                                                                         Haarlem
   Payments & Cards Network                                                          Keizersgracht 477-B                                                                         Amsterdam                  1017 DL      Netherlands
   PayPal                                                                            2211 N 1st St                                                                               San Jose         CA        95131
   PayPalHoldings, Inc.                                                              2211 North First Street                                                                     San Jose         CA        95131
   Paz,Ryan                                                                          (Address Redacted)
   Peak,Alyse                                                                        (Address Redacted)
   Peguese JR,Earl G                                                                 (Address Redacted)
   Pennington,Bradley                                                                (Address Redacted)
   Perez,Monica                                                                      (Address Redacted)
   Perrin,Donald                                                                     (Address Redacted)
   Phalen,Christopher W                                                              (Address Redacted)
   Phares,Kathryn B                                                                  (Address Redacted)
   Phil Vizzaccaro                                                                   (Address Redacted)
   Philip Tortora                                                                    (Address Redacted)
   Phillip Turner                                                                    (Address Redacted)
   Pike,Christopher R                                                                (Address Redacted)
   Pinneke,Bradley B                                                                 (Address Redacted)
   PitchBook Data, Inc.                                                              PitchBook Data, Inc.                         901 Fifth Avenue, Suite 1200                   Seattle          WA        98164
   PIXOVR LLC                                                                        124 East Hudson Ave                                                                         Royal Oak        MI        48067
   Platinum Parking Company                                                          150 Second Ave North Ste. 50                                                                St. Petersburg   FL        33701
   Pluralsight, LLC                                                                  182 N. Union Ave                                                                            Farmington       UT        84025-2907
   Pochily,Benjamin                                                                  (Address Redacted)
   Postmates                                                                         690 5th St                                                                                  San Francisco    CA        94107
   PPC Samurai                                                                       2/F 50 Bonham Strand, Sheung Wan                                                            Hong Kong
   PR Newswire                                                                       200 Vesey Street                                                                            New York         NY        10080
   Pratte,Ronald                                                                     (Address Redacted)
   Precise Softech                                                                   1530 P B Lane                                J4022                                          Wichita Falls    TX        76302
   Presser,Kim S                                                                     (Address Redacted)
   PrestaShop Inc.                                    The DuPont Law Group, PLLC     11 Broadway                                  Suite 715                                      New York         NY        10004        France
   Primera Technology                                                                2 CARLSON PARKWAY N                                                                         Plymouth                   55447
   Primeval Labs                                                                     416 Barnett Dr                                                                              Batesville       AR        72501
   Race Car Tools                                                                    2037 NW 27th Avenue                                                                         MiamI            FL        33142
   Race,Christopher                                                                  (Address Redacted)
   RacquetGuys.com                                                                   7400 Victoria Park Ave Unit 5                                                               Markham          ON        L3R2V4
   Ramin,Nixon L                                                                     (Address Redacted)
   Ramirez-Flores,Dina                                                               (Address Redacted)
   Rapid Medical                                                                     1355 Shotgun Road                                                                           Sunrise          FL        33326
   Ravi Mhatre                                                                       (Address Redacted)
   ReadMe                                                                            209 Kearny St                                                                               San Francisco    CA        94108
   Redman,Steve                                                                      (Address Redacted)
   Reed Exhibitions Australia Pty Ltd - AUD                                          Suite 715 | New York, NY 10004                                                              Chatswood                  02067      Australia
   Reed Exhibitions Mexico S.A. de C.V.                                              Edificio Mapfre, Paseo de la Reforma 243     Piso 15                                        Mexico City                C.P. 06500 Mexico
   Reed,Michael C                                                                    (Address Redacted)
   Reeds Family Outdoor Outfitters                                                   522 Minnesota Ave W                                                                         Bemidji          MN        56484
   Refresh Miami Inc                                                                 1040 NE 85th Street                                                                         Miami            FL        33138
   RemoteLock                                                                        2170 South Delaware St.                                                                     Denver           CO        80223
   Renaissance Life and Health Insurance Company of
   America                                                                           225 South East Street                        STE 360                                        Indianapolis     IN        46202
   Renegade Electric                                                                 2475 W Cheyenne Ave                          Suite 150                                      Las Vegas        NV        89032
   Renny McPherson                                                                   (Address Redacted)




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                         Name                       Attention                                    Address1                                          Address2                        Address3                       City     State       Zip        Country
   Rent the Jewelry                                                    5850 Hollister Ave                                                                                                              Goleta            CA        93117
   Renzulli JR,Anthony G                                               (Address Redacted)
   Rescue Vessel LLC                                                   126 13th Street 4L-7                                                                                                            Brooklyn          NY        11215
   Retail Global                                                       120 Spencer Street                                          21st Floor                                                          Melbourne                   03000        Australia
   Reyes Castellanos,Miguel                                            (Address Redacted)
   Richard E. Dover LLC                                                7435 S. Eastern Ave                                         Suite 264                                                           Las Vegas         NV        89123
   Richard Gordon                                                      7606 Partidge Barry Ln                                                                                                          Clifton           VA        20124
   Riot Society Clothing                                               2529 Chambers Street                                        Unit A                                                              Vernon            CA        90058
   RocketReach LLC                                                     500108thAveNE Unit 1100                                                                                                         Bellevue          WA        98004
   Rockwell,June                                                       (Address Redacted)
   Rogas,Adam P                                                        (Address Redacted)
   Rogassi Ent                                                         11616 Zagarolo Ln                                                                                                               Las Vegas         NV        89141
   Rohe,Jared                                                          (Address Redacted)
   Rorison,Ryan                                                        (Address Redacted)
   Rosenberg,Joshua                                                    (Address Redacted)
                                                                       Pondok Indah Office Tower 3 Lt. 8 Suite 803, Jalan Sultan
                                                                       Iskandar Muda Kav. V-TA, RT.5/RW.3, Pondok Pinang,
   Royal Canin Indonesia                                               Kebayoran Lama                                                                                                                  Jakarta                     12310        Indonesia
   Rude American                                                       2675 Patrick Lane #6                                                                                                            Las Vegas         NV        89120
   Sales Signature EURL                                                66, Avenue des Champs Elysées                                                                                                   Paris                       75008        France
   Salesforce.com                     Kevin Penta                      5 Wall St                                                                                                                       Burlington        MA        01803
   SalesIntel Research LLC                                             7600 Leesburg Pike, Suite 320                               West Building                                                       Falls Church      VA        22043
   SalesLoft                                                           1180 W Peachtree St NW                                      Ste 600                                                             Atlanta           GA        30309
   SalesRight                                                          Unit 100, 1505 Barrington Street                                                                                                Halifax           NS        B3J3K5       Canada
   Salus Labs, Inc (dba Triplebyte)                                    301 Howard Street, Suite 700                                                                                                    San Francisco     CA        94105
   Sanborn,Jonathan                                                    (Address Redacted)
   Sanka,Anoop                                                         (Address Redacted)
   SAP - EUR                                                           Dietmar-Hopp-Allee 16                                                                                                           Walldorf                    69190        Germany
   SAP America Inc.                                                    SAP Canada111, Boulevard Robert-Bourassa                                                                                        Montreal                    H3C 2M1      Canada
   SAP America, Inc.                                                   3999 West Chester Pike                                                                                                          Newtown Square    PA        19073
   Scientist Technologies                                              Prestige Tower Residency Rd                                 9th Floor, Bhive Workspace                                          Bangalore                   560025       India
   Scott & Phyllis Mitchell                                            (Address Redacted)
   SCP NS8 Investment, LLC                                             3251 N 620 East                                                                                                                 Lehi              UT        84043
   Sean Clauretie                                                      (Address Redacted)
   Sebastian Pozos                                                     4201 W. Rochelle Ave.                                       Apt 1011                                                            Las Vegas         NV        89103
   Securities & Exchange Commission   Attn Andrew Calamari             Regional Director Brookfield Place                          New York Regional Office                200 Vesey Street, Ste 400   New York          NY        10281-1022
   Securities & Exchange Commission   Secretary of the Treasury        100 F Street, NE                                                                                                                Washington        DC        20549
   Semrush                                                             800 Boylston St Ste 2475                                                                                                        Boston            MA        02199
                                                                       Jl. Sultan Iskandar Muda Jl. Komp. Kostrad, RT.2/RW.7,
   Sesa Indonesia                                                      Kby. Lama Sel., Kec. Kby. Lama, Kota                        akarta Selatan, Daerah Khusus Ibukota                               Jakarta                     12240        Indonesia
   Sevans Strategy                                                     11060 Village Ridge Lane                                                                                                        Las Vegas         NV        89135
   Shan He                                                             (Address Redacted)
   Sharkey,Blaise                                                      (Address Redacted)
   Shevach,Garrett                                                     (Address Redacted)
   Shewchuk,Ryan C                                                     (Address Redacted)
   Shield Geo (DO NOT USE)                                             33 Canton Rd                                                2003, 20/F, Tower 5                                                 Tsim Sha Tsui                            Hong Kong
   Shield GEO Services Limited                                         2003, 20/F, Tower 5, China Hong Kong City                   33 Canton Road, Tsim Sha Tsui                                       Kowloon                                  Hong Kong
   Shop Softwares                                                      290 Davidson Avenue                                                                                                             Somerset          NJ        08873
   Shopify                                                             627 Broadway 9th Floor                                                                                                          New York          NY        10012
   Shoptalk Commerce LLC                                               605 3rd Avenue                                                                                                                  New York          NY        10017
   Shoulders,Joshua                                                    (Address Redacted)
   Silicon Valley Bank                Silicon Valley Bank              3003 Tasman Dr.                                                                                                                 Santa Clara       CA        95054
   Silkn.ca                                                            2815 Forbs Ave                                              Suite 107                                                           Hoffman Estates   IL        60192
   Silkn.com                                                           2815 Forbs Ave                                              Suite 107                                                           Hoffman Estates   IL        60192
   SimilarWeb Inc                                                      50 West 17th Street, 9th Floor                                                                                                  New York          NY        10011
   Sin City Plants LLC                                                 1930 Village Center Circle                                  #3555                                                               Las Vegas         NV        89134
   Skinner,Troy                                                        (Address Redacted)
   Skytop Vending LLC                                                  1509 WESTERN AVENUE                                                                                                             LAS VEGAS         NV        89102-2601
   Slab Inc                                                            121 2nd Street                                                                                                                  San Francisco     CA        94105
   SM22 Informatica Ltda.                                              Rua Coreia 400                                              BL 3-43                                                             Santo Andre                 09280--140 Brazil
   Smith,Darius                                                        (Address Redacted)
   Smithcorp                                                           3165 Sawtelle Boulevard                                     Apt 315                                                             Los Angeles       CA        90066
   Snowflake Inc.                                                      450 Concar Drive                                                                                                                San Mateo         CA        94402
   Software Destination                                                401 E Jackson St Ste 2340                                                                                                       Tampa             FL        33602
   Solis,Lawrence                                                      (Address Redacted)
   Sparkletts                                                          PO BOX 660579                                                                                                                   Dallas            TX        75266-0579
   Spencer Fairbairn                                                   8817 Saint Cloud Court                                                                                                          Las Vegas         NV        89143
   spinTouch Inc.                                                      2323 Main Street                                                                                                                Irvine            CA        92614
   Spizuoco,Christopher                                                (Address Redacted)
   SPMB LLC                                                            1 Letterman Drive                                           Building C Suite M900                                               San Francisco     CA        94129
   Springer,Gary                                                       (Address Redacted)
   Stack Exchange, Inc.                                                110 William St                                              28th Floor                                                          New York          NY        10038
   Stahlhood,Benjamin S                                                (Address Redacted)
   Starinmyheart                                                       2439 200th Ave                                                                                                                  Mora              MN        55051
   State of California                Office of the Attorney General   P.O. Box 944255                                                                                                                 Sacramento        CA        94244-2550
   State of California                State Board of Equalization      450 N Street, Mic 121                                                                                                           Sacramento        CA        94279-0121
   State of Delaware                  Department of Justice            Carvel State Office Building                                820 N French Street                                                 Wilmington        DE        19801
   State of Delaware                  Division of Revenue              820 N. French Street                                        820 N. French Street                                                Wilmington        DE        19801




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   State of Florida                                  General Counsel                   Department of Revenue                          P.O. Box 6668                                   Tallahassee       FL         32314-6668
   State of Florida                                  Office of the Attorney General    The Capitol Pl-01                                                                              Tallahassee       FL         32399
   State of Michigan                                                                   Michigan Department of Treasury                3060 W. Grand Blvd.                             Detroit           MI         48202
   State of Michigan                                 Office of the Attorney General    G. Mennen Williams Building, 7Th Floor         525 W Ottawa St                                 Lansing           MI         48933
   State of Nevada                                   Department of Taxation            500 East Third Street                                                                          Carson City       NV         89713-0030
   State of Nevada                                   Office of the Attorney General    Old Supreme Court Building                     100 N Carson St                                 Carson City       NV         89701
   State of Virginia                                 Office of the Attorney General    202 N. Ninth St.                                                                               Richmond          VA         23219
   State of Virginia                                 Virginia Department of Taxation   1957 Westmoreland Street                                                                       Richmond          VA         23230
   State of Washington                               Depart of Revenue                 P.O. Box 47473                                                                                 Olympia           WA         98504-7463
   State of Washington                               Office of the Attorney General    1125 Washington St Se                                                                          Olympia           WA         98501
   Steadfast Insurance Company                                                         522 Minnesota Ave W                                                                            Walker            MN         56484
   Stephani Martin                                                                     1021 Lincoln Way                                                                               San Francisco     CA         94122
   Stephen R. Mooney Family Trust c/o Christine M.
   Mooney, Trustee                                                                     (Address Redacted)
   Steve Mathews                                                                       4024 Calle Marlena                                                                             San Clemente      CA         92672
   Stevenson,Jacob                                                                     (Address Redacted)
   Stoica,Patrick                                                                      (Address Redacted)
   Storms,Brandon                                                                      (Address Redacted)
   Straker Translations                                                                150 East Olive Avenue Suite 211                                                                Burbank           CA         91502
   Stripe, Inc.                                                                        510 Townsend St                                                                                San Francisco     CA         94103
   Strobridge,Fiona                                                                    (Address Redacted)
   Stuart Zahn                                                                         15555 N Frank Lloyd Wright Blvd                2095                                            Scottsdale        AZ         85260
   Sun Commercial                                                                      6140 Brent Thurman Way                                                                         Las Vegas                    89148
   Super Metrics                                                                       1175 Peachtree St. NE 10th Floor/ Suite 1000                                                   Atlanta           GA         30361
   Supermarket Italy                                                                   1275 Valley Brook Ave                                                                          Lyndhurst         NJ
   SuperPlastic                                                                        688 Pine Street 2A                                                                             Burlington        VT         05401
   SureFit                                                                             8000 Quarry Rd                                                                                 Alburtis                     18011
   Susoev,Manya                                                                        (Address Redacted)
   SwagUp LLC                                                                          2607 New York Ave                                                                              Union City        NJ         07087
   SweetWater Sound                                                                    5501 U.S. Hwy 30 W                                                                             Fort Wayne        IN         46818
   Swoonery                                                                            587 5th Ave                                                                                    New York          NY         10017
   System3 B.V.                                                                        Oudezijds Achterburgwal 237                                                                    Amsterdam                    1012 DL      Netherlands
   Sytze Koolen                                                                        (Address Redacted)
   Tackle.io                                                                           104 S Capitol Blvd, Ste 201-A                  Suite 201-A                                     Boise             ID         83702
   Talley,Cody                                                                         (Address Redacted)
   TDF Ventures                                                                        2 Wisconsin Circle, Suite 920                                                                  Chevy Chase       MD         20185
   TDO Recruiters LLC                                                                  17608 River Ford Drive                                                                         Davidson          NC         28036
   Teambonding                                                                         18 Washington Street, #200                                                                     Canton            MA         02021
   Tech Delight UK                                                                     86-90 Paul Street                                                                              London                       EC2A4NE      UK
   Tech Impact                                                                         417 N 8th Street                               Suite 203                                       Philadelphia      PA         19123
   Telesign                                                                            13274 Fiji Way                                 Suite 600                                       Marina Del Rey    CA         90292
   Tenacious Toys                                                                      1483 York Ave Box #20413                                                                       New York          NY         10075
   Terrapinn Pte Ltd                                                                   1 Harbourfront Place                           #12-01/03 Harbourfront Tower 1                  Singapore                    98633        Singapore
   Texas Time Gifts and Fine Art                     T.T.G.F.A., LLC.                  13359 North Highway 183, #406-310                                                              Austin            TX         78750
   Text Connects                                                                       23 Senexet Village Rd                                                                          Woodstock         CT         06281
   The Alan Group LLC                                                                  1001 Arboretum Drive                           STE 206                                         Waunakee          WI         53597
   The Bartlett                                                                        520 12th St S                                                                                  Arlington         VA         22202
   The Bean Coffee Company                                                             1722 South Coast Highway, Suite 4                                                              Oceanside         CA         92054
   The Chicago Magic Co.                                                               4136 W. School St                                                                              Chicago           IL         60641
   The Coin Shop                                                                       9937 E Grand Riv Ave                                                                           Brighton          MI         48116
   The Diana Initiative                                                                8465 West Sahara Avenue                        Suite 111-585                                   Las Vegas         NV         89117
   The Glenn Group                                                                     50 Washington St                               Suite 200                                       Reno              NV         89503
   The Mhatre 2011 Irrevocable Childrens Trust                                         (Address Redacted)
   The Nieh 2011 Irrevocable Childrens Trust                                           (Address Redacted)
   The Pump Warehouse                                                                  3880 Redwood Avenue                                                                            Grants Pass       OR         97527
   The Tech Den                                                                        2/28 Piper St                                                                                  Caboolture        QLD        04510        Australia
   The Vanity Portrait Studio                                                          1623 SE 41st Ave                                                                               Portland          OR         97214
   The Working Party Services                                                          109 Hawke St                                   Level One, Suite 2                              West Melbournce
   ThirtyBees                                        Perry A. Craft                    402 BNA Dr.                                    Suite 202                                       Nashville         TN         37027
   Tim Daileader                                     Tim Daileader                     (Address Redacted)
   TIM WENDEL MASTER CARE PEST CONTROL                                                 1613 Mexican Poppy Street                                                                      Las Vegas         NV         89128
   Timarco                                                                             1805 Flamingo Place                                                                            Deerfield Beach   FL         33442
   Tony Dawson                                                                         (Address Redacted)
   Tools Direct                                                                        1451 Woodruff Rd, Ste S                                                                        Greenville        SC         29607
   Tortora,Philip M                                                                    (Address Redacted)
   Toudy JR,James J                                                                    (Address Redacted)
   Tracxn Technologies Private Limited                                                 5th Floor, Krimson Square, 31/9 Roopena        Agrahara, Hosur Main Road                       Bangalore                    560068       India
   Trevor Nelson                                                                       (Address Redacted)
   Tribal Hollywood                                                                    1615 Wilcox Ave                                #3030                                           Los Angeles       CA         90028
   Trinet Group, Inc.                                                                  One Park Place, Suite 600                                                                      Dublin            CA         94568
   Trustpilot                                                                          245 Fifth Avenue                               5th Floor                                       New York          NY         10016
   Trzuskoski,Alan                                                                     (Address Redacted)
   TSS Outfitters, LLC                                                                 362 N Main                                                                                     Tooele            UT         84074
   Tuff Stuff 4X4                                                                      2205 S Wright St                                                                               Santa Ana         CA         92705
   Tully,Jeannie                                                                       (Address Redacted)
   Twilio Inc                                                                          375 Beale St Ste 300                                                                           San Francisco     CA         94105
   Typerform S.L                                                                       CALLE BACALLE BAC DE RODA (LO) 163                                                             Barcelona
   U.S. Department of Justice                                                          950 Pennsylvania Avenue, NW                                                                    Washington        DC         20530-0001




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                            Name                    Attention                                  Address1                                           Address2                Address3            City      State       Zip        Country
   Udemy, Inc.                                                       600 Harrison Street                                          3rd Floor                                          San Francisco   CA         94107
   United Healthcare                                                 PO Box 94017                                                                                                    Palatine        IL         60094-4017
   United States Attorneys Office     For the District of Delaware   1313 N Market Street                                                                                            Wilmington      DE         19801
   Uplift Desk                                                       801 El Camino Real                                                                                              Menlo Park      CA         94025
   UPS                                                               55 Glenlake Parkway Ne                                                                                          ATLANTA         GA         30328
   Urquhart,Kenneth                                                  (Address Redacted)
   Used Mobiles 4U                                                   631 Birchwood Blvd                                                                                              Warrington                 WA3 7QU      UK
   Valley Forge Insurance Company                                    92130 Issy-les-Moulineaux                                                                                       Chicago         IL         60606
   Van Beek,Barry                                                    (Address Redacted)
   Van Doorne N.V.                                                   Jachthavenweg 121                                            Postbus 75265                                      Amsterdam       NH         1070 AG      Netherlands
   Vanessa Caffarena                                                 (Address Redacted)
   VanFossen,Scott                                                   (Address Redacted)
   Vanguard Cleaning Systems                                         PO Box 1368                                                                                                     Bountiful       UT         84011
   Vanson Leathers, Inc                                              951 Broadway                                                                                                    Fall River      MA         02724
   VanWanzeele,Joseph                                                (Address Redacted)
   Vargus Turbocharger Technologies                                  22035 Meekland Ave                                                                                              Hayward         CA         94541
   Varier Furniture                                                  2125 32nd St                                                                                                    Boulder         CO         80301
   Veil Cosmetics CA                                                 525 W. 52nd Street                                                                                              New York        NY         10019
   Virginia Dept of the Treasury      Unclaimed Property Division    James Monroe Bldg, 3Rd Fl                                    101 North 14Th St                                  Richmond        VA         23219
   ViX Swimwear                                                      5620 Kearny Mesa Rd                                                                                             San Diego       CA         92111
   Von Quilich,Michelle                                              (Address Redacted)
   Vortex Industries, Inc.                                           1801 W. Olympic Blvd.                                        File 1095                                          Pasedena        CA         91199-1095
   Ward,Brian                                                        (Address Redacted)
   Washington State Dept of Revenue   Unclaimed Property Section     Po Box 47477                                                                                                    Olympia         WA         98504-7477
   Watercare                                                         Jl. AIP II K.S. Tubun Raya No 77                                                                                Jakarta                    11410      Indonesia
   Watson,Herman                                                     (Address Redacted)
   Wazorick,James                                                    (Address Redacted)
   WBR Singapore Pte Ltd.                                            61 Robinson Road                                             #14-01                          Robinson Centre    Singapore                  68893        Singapore
   Webster,Peter                                                     (Address Redacted)
   Weide & Miller Ltd                                                10655 Park Run Drive                                         Suite 100                                          Las Vegas       NV         89144
   Welz & Weisel Communications                                      8200 Greensboro Drive,                                       Ste 1450                                           Tysons          VA         22307
   Wenzel,Anson                                                      (Address Redacted)
   WeWork                                                            115 W 18th St                                                                                                   New York        NY         10011
   WeWork - Amsterdam                                                Weesperstraat 61-105                                                                                            Amsterdam       AM         1018VN       Netherlands
   WeWork - Melbourne Australia                                      401 Collins Street                                                                                              Melbourne       VIC        03000        Australia
   WeWork - Miami                                                    360 NW 27th Street                                                                                              Miami           FL         33127
   WeWork - San Francisco                                            3001 Bishop Drive                                                                                               San Ramon       CA         94583
   WeWork - Singapore                                                15 Beach Road, 2nd Floor                                                                                        Singapore                               Singapore
   WILSON,KYLER                                                      (Address Redacted)
   WM Digital LLC                                                    429 Lenox Ave                                                                                                   Miami Beach     FL         33139

   WooCommerce                        Paul Sieminski                 U 1, Canal Edge 1, Ent B, Tyge Waterfront, Carl C Dr, Belvill                                                   Cape Town                  07530        South Africa
   Woodward,Tyler                                                    (Address Redacted)
   Worldwide Business Research USA                                   535 5th Avenue                                                8th Floor                                         New York        NY         10017
   WRP Indonesia                                                     700 Massillon Road #340                                                                                         Uniontown       OH         44685
   Yang,John                                                         (Address Redacted)
   Yi,Joseph Y                                                       (Address Redacted)
   Young,Landon                                                      (Address Redacted)
   Zarkoperfume                                                      VAT 35535505                                                                                                    Hornbaek                   03100        Denmark
   Zehner,Matthias                                                   (Address Redacted)
   Zephyr Epic                                                       8065 130 St                                                                                                     Surrey          BC         V3W 7X4      Canada
   Zippo.com                                                         33 Barbour St                                                                                                   Bradford
   ZJ Outfitters                                                     762 W 41st St                                                                                                   Miami           FL         33140
   Znet Flooring                                                     10161 Park Run Dr                                             Ste 150                                           Las Vegas       NV         89145
   ZombieApocalypZ                                                   775 Sunrise Ave #230                                                                                            Roseville       CA         95661
   Zoom Video Communications, Inc                                    55 Almaden Boulevard                                          Suite 600                                         San Jose        CA         95113




In re: NS8 Inc.                                                                                                                                                                                                                Page 10 of 10
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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                       Chapter 11

    NS8 INC.,1                                                   Case No. 20-_____ (___)

                     Debtor.


                               LIST OF EQUITY SECURITY HOLDERS

             The following is the list of the Debtor’s equity security holders, prepared in accordance

with Fed. R. Bankr. P. 1007(a)(3):



    Name and Last Known Address                   Security             Number of               Percentage of
     or Place of Business of Holder                Class               Securities                Interest
    Adam Rogas                                Common (CS)             1,202,584                              37.9%
    9813 Moon Valley,
    Las Vegas, NV 89134
    NS8 FP LLC                                Common (CS)               904,758                              28.5%
    9813 Moon Valley,
    Las Vegas, NV 89134
    David William Hanna Trust 10‐30‐89        Common (CS)               524,412                              16.5%
    43 Post,
    Irvine, CA 92618
    Eric Kay                                  Common (CS)               320,000                              10.1%
    4801 Madison Street,
    Hollywood, FL 33021
    Phil Vizzaccaro                           Common (CS)                83,476                                2.6%
    26801 Devonshire Rd,
    Laguna Hills, CA 92653
    TDF                                       Common (CS)                65,616                                2.1%
    2 Wisconsin Circle, Suite 920
    Chevy Chase, MD 20185
    David Hansen                              Common (CS)                29,987                                0.9%
    Urbanizacion Santa Rosa, Calle 9
    Bloque 14 #18 Apt 3
    Sean Clauretie                            Common (CS)                26,022                                0.8%
    217 Pancho Via Dr,


1
 The Debtor and the last four digits of its federal taxpayer identification number is as follows: NS8 Inc. (6056). The
notice address for the Debtor is NS8 Inc., PO Box 34120, Las Vegas, NV 89133.


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 Henderson, NV 89012
 Sytze Koolen                         Common (CS)            8,138                    0.3%
 smkoolen@gmail.com
 James Holborow                       Common (CS)            7,886                    0.2%
 613 BAYSVILLE COURT
 BOISE, ID 83714
 Philip Tortora                       Common (CS)            1,859                    0.1%
 2072 S1OKETREE VILLAGE CIRCLE
 HENDERSON, NV 89012
 Lightspeed Venture Partners Select   Series A 1 (SA1)   1,326,013                   20.3%
 IV, L.P
 Lightspeed Venture Partners
 Attn: Brett Nissenberg
 2200 Sand Hill Rd
 Menlo Park, CA 94025
 Lightspeed Venture Partners Select   Series A 1 (SA1)   1,280,929                   19.6%
 III, L.P.
 Lightspeed Venture Partners
 Attn: Brett Nissenberg
 2200 Sand Hill Rd
 Menlo Park, CA 94025
 Edison Partners IX L.P.              Series A 1 (SA1)   1,246,452                   19.1%
 218 Witherspoon Street
 Princeton, NJ 08540
 Matignon Alternatif SAS              Series A 1 (SA1)    931,487                    14.3%
 9 place de la Madeleine
 Paris, France 75008
 AVP Capital A FPCI                   Series A 1 (SA1)    829,256                    12.7%
 9 place de la Madeleine
 Paris, France 75008
 AVP Capital B FPCI                   Series A 1 (SA1)    364,156                     5.6%
 9 place de la Madeleine
 Paris, France 75008
 SCP NS8 Investment, LLC              Series A 1 (SA1)    185,641                     2.8%
 kelefant@sorensoncap.com
 Jeremy Liew                          Series A 1 (SA1)    106,081                     1.6%
 Lightspeed Venture Partners
 Attn: Jeremy Liew
 2200 Sand Hill Rd
 Menlo Park, CA 94025
 NextGen Opportunity Fund I LP, LLC   Series A 1 (SA1)     79,561                     1.2%
 901 S Bond Street, Suite 400
 Baltimore, MD 21231
 NextGen NS8 LLC                      Series A 1 (SA1)     53,041                     0.8%
 901 S Bond Street, Suite 400
 Baltimore, MD 21231
 Blu Venture Investors, LLC           Series A 1 (SA1)     45,084                     0.7%


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 1577 Spring Hill Rd. Ste. #405,
 Vienna, VA 22182
 Bradley Twohig                         Series A 1 (SA1)     26,520                     0.4%
 Attn: Bradley Twohig
 2200 Sand Hill Rd
 Menlo Park, CA 94025
 Ravi Mhatre                            Series A 1 (SA1)     23,868                     0.4%
 Lightspeed Venture Partners
 Attn: Ravi Mhatre
 2200 Sand Hill Rd
 Menlo Park, CA 94025
 The Mhatre 2011 Irrevocable            Series A 1 (SA1)     15,912                     0.2%
 Children's Trust
 2200 Sand Hill Road
 Menlo Park, CA 94025
 The Nieh 2011 Irrevocable Children’s   Series A 1 (SA1)     14,851                     0.2%
 Trust
 2200 Sand Hill Road
 Menlo Park, CA 94025
 IRAR Trust FBO: Peter Nieh 3600398     Series A 1 (SA1)      3,712                     0.1%
 1000 Broadway, Suite 350
 Oakland, CA 94607
 Janmohamed Family Trust                Series A 1 (SA1)      2,652                     0.0%
 6724 Brynwood Way
 San Diego, CA 92120
 SCP NS8 Investment, LLC                Series A 2 (SA2)    792,940                    40.2%
 kelefant@sorensoncap.com
 Lytical Ventures CI, LP                Series A 2 (SA2)    699,069                    35.4%
 250 West 55th Street 37th Floor
 New York, NY 10019
 TDF                                    Series A 2 (SA2)    228,539                    11.6%
 2 Wisconsin Circle, Suite 920
 Chevy Chase, MD 20185
 Blu Venture Investors, LLC             Series A 2 (SA2)    156,570                     7.9%
 1577 Spring Hill Rd. Ste. #405,
 Vienna, VA 22182
 NextGen NS8 LLC                        Series A 2 (SA2)     96,125                     4.9%
 901 S Bond Street, Suite 400
 Baltimore, MD 21231
 M37 Carried Interest, LLC              Series Seed‐1A      486,956                   100.0%
 2214 Rock Hill Rd.,                    Preferred Stock
 Herndon, VA 20170                      (SS1A)
 Edison Partners IX L.P.                Series Seed‐1       357,419                    55.1%
 218 Witherspoon Street                 Preferred Stock
 Princeton, NJ 08540                    (SS1)




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 Fedora Blanco, LLC                Series Seed‐1       166,731                   25.7%
 1577 Spring Hill Rd. Ste.#405,    Preferred Stock
 Vienna, VA 22182                  (SS1)
 TDF                               Series Seed‐1        17,590                    2.7%
 2 Wisconsin Circle, Suite 920     Preferred Stock
 Chevy Chase, MD 20185             (SS1)
 Bloomberg Beta 2016 L.P.          Series Seed‐1        17,590                    2.7%
 120 Park Avenue,                  Preferred Stock
 New York, NY 10017‐5577           (SS1)
 Jeff Nuechterlein                 Series Seed‐1        17,590                    2.7%
 jeff@nuevc.com                    Preferred Stock
                                   (SS1)
 Kathryn Stewart                   Series Seed‐1        17,590                    2.7%
 8703 Cranbrook Court,             Preferred Stock
 Bethesda, MD 20817                (SS1)
 Renny McPherson                   Series Seed‐1        17,590                    2.7%
 5113 Westbard Avenue,             Preferred Stock
 Bethesda, MD 20816                (SS1)
 Dave Salwen                       Series Seed‐1        10,554                    1.6%
 salwendj@gmail.com                Preferred Stock
                                   (SS1)
 Lillian & Evan Englund            Series Seed‐1         9,203                    1.4%
 4025 Montoya Avenue,              Preferred Stock
 Las Vegas, NV 89120               (SS1)
 Marilyn Jones                     Series Seed‐1         7,036                    1.1%
 3051 Idaho Ave., NW Apt 201,      Preferred Stock
 Washington, DC 20016              (SS1)
 DDE Partners, LLC                 Series Seed‐1         5,869                    0.9%
 555 Bryant Street, #310,          Preferred Stock
 Palo Alto, CA 94301               (SS1)
 FiftySix Investments LLC          Series Seed‐1         3,252                    0.5%
 56 Granada Court,                 Preferred Stock
 Portola Valley, CA 94028          (SS1)
 Michael W. Wellman                Series Seed‐1          652                     0.1%
 1435 Kingstream DR,               Preferred Stock
 Herndon, VA 20170                 (SS1)
 Blu Venture Investors, LLC        Series Seed‐2       391,967                   23.0%
 1577 Spring Hill Rd. Ste. #405,   Preferred Stock
 Vienna, VA 22182                  (SS2)
 Bloomberg Beta 2016 L.P.          Series Seed‐2       288,668                   17.0%
 120 Park Avenue,                  Preferred Stock
 New York, NY 10017‐5577           (SS2)
 NextGen NS8 LLC                   Series Seed‐2       278,714                   16.4%
 901 S Bond Street, Suite 400      Preferred Stock
 Baltimore, MD 21231               (SS2)




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 TDF                                    Series Seed‐2       189,127                   11.1%
 2 Wisconsin Circle, Suite 920          Preferred Stock
 Chevy Chase, MD 20185                  (SS2)
 Edison Partners IX L.P.                Series Seed‐2       160,302                    9.4%
 218 Witherspoon Street                 Preferred Stock
 Princeton, NJ 08540                    (SS2)
 Kathryn Stewart                        Series Seed‐2        89,586                    5.3%
 8703 Cranbrook Court,                  Preferred Stock
 Bethesda, MD 20817                     (SS2)
 Jeff Nuechterlein                      Series Seed‐2        59,724                    3.5%
 jeff@nuevc.com                         Preferred Stock
                                        (SS2)
 Hillcrest Venture Partners Fund I‐A,   Series Seed‐2        49,770                    2.9%
 LP                                     Preferred Stock
 950 N Isabel St                        (SS2)
 Glendale, CA 91207
 Millennium Trust Company LLC           Series Seed‐2        39,816                    2.3%
 Custodian FBO Justin Label IRA         Preferred Stock
 2001 Spring Road Suite 700             (SS2)
 Oak Brook, IL 60523
 Renny McPherson                        Series Seed‐2        39,816                    2.3%
 5113 Westbard Avenue,                  Preferred Stock
 Bethesda, MD 20816                     (SS2)
 Michael W. Wellman                     Series Seed‐2        35,000                    2.1%
 1435 Kingstream DR,                    Preferred Stock
 Herndon, VA 20170                      (SS2)
 Dave Salwen                            Series Seed‐2        23,890                    1.4%
 salwendj@gmail.com                     Preferred Stock
                                        (SS2)
 Craig Brooks                           Series Seed‐2        20,000                    1.2%
 7101 Beechwood Drive,                  Preferred Stock
 Chevy Chase, MD 20815                  (SS2)
 Stephen R. Mooney Family Trust c/o     Series Seed‐2        20,000                    1.2%
 Christine M. Mooney, Trustee           Preferred Stock
 5625 Alta Vista Road,                  (SS2)
 Bethesda, MD 20817
 Marilyn Jones                          Series Seed‐2        15,926                    0.9%
 3051 Idaho Ave., NW Apt 201,           Preferred Stock
 Washington, DC 20016                   (SS2)
 Edison Partners IX L.P.                Series Seed‐3     2,795,377                   60.8%
 218 Witherspoon Street                 Preferred Stock
 Princeton, NJ 08540                    (SS3)
 TDF                                    Series Seed‐3       775,717                   16.9%
 2 Wisconsin Circle, Suite 920          Preferred Stock
 Chevy Chase, MD 20185                  (SS3)




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 Blu Venture Investors, LLC             Series Seed‐3       467,607                   10.2%
 1577 Spring Hill Rd. Ste. #405,        Preferred Stock
 Vienna, VA 22182                       (SS3)
 NextGen NS8 LLC                        Series Seed‐3       209,653                    4.6%
 901 S Bond Street, Suite 400           Preferred Stock
 Baltimore, MD 21231                    (SS3)
 Bloomberg Beta 2016 L.P.               Series Seed‐3       109,653                    2.4%
 120 Park Avenue,                       Preferred Stock
 New York, NY 10017‐5577                (SS3)
 David William Hanna Trust 10‐30‐89     Series Seed‐3        61,505                    1.3%
 43 Post,                               Preferred Stock
 Irvine, CA 92618                       (SS3)
 Millennium Trust Company LLC           Series Seed‐3        55,908                    1.2%
 Custodian FBO Justin Label IRA         Preferred Stock
 2001 Spring Road Suite 700             (SS3)
 Oak Brook, IL 60523
 FiftySix Investments LLC               Series Seed‐3        55,908                    1.2%
 56 Granada Court,                      Preferred Stock
 Portola Valley, CA 94028               (SS3)
 Jeff Nuechterlein                      Series Seed‐3        45,425                    1.0%
 jeff@nuevc.com                         Preferred Stock
                                        (SS3)
 Hillcrest Venture Partners Fund I‐A,   Series Seed‐3        17,471                    0.4%
 LP                                     Preferred Stock
 950 N Isabel St                        (SS3)
 Glendale, CA 91207




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    Fill in this information to identify the case:

    Debtor name:       NS8 Inc.

    United States Bankruptcy Court for the District of Delaware

    Case Number (if known):                                                                                              Check if this is an
                                                                                                                         amended filing


 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
 Unsecured Claims and Are Not Insiders                                    12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
 unsecured claims.

Name of creditor and complete         Name, telephone number, and    Nature of the claim      Indicate if     Amount of unsecured claim
mailing address, including zip code   email address of creditor      (for example, trade      claim is
                                      contact                        debts, bank loans,       contingent,     If the claim is fully unsecured, fill in only
                                                                     professional services,   unliquidated,   unsecured claim amount. If claim is partially
                                                                     and government           or disputed     secured, fill in total claim amount and deduction
                                                                     contracts)                               for value of collateral or setoff to calculate
                                                                                                              unsecured claim.

                                                                                                              Total claim,     Deduction         Unsecured
                                                                                                              if partially     for value of      claim
                                                                                                              secured          collateral or
                                                                                                                               setoff
1     Hansen Networks                 (702) 248-7141                 Trade                    Contingent,                                        298,976
      4255 Dean Martin Dr. Suite C    billing@hansennetworks.com                              Unliquidated
      Las Vegas, NV 89103 USA                                                                 and Disputed




2     Engineer Better                 contact@engineerbetter.com     Trade                                                                       36,322
      125 Adams Drive
      Ashford, TN24 0FX United
      Kingdom


3     Paloalto Networks               (669) 231-3854                 Trade                                                                       29,988
      3000 Tannery Way                ckao@paloaltonetworks.com
      Santa Clara, CA 95054 USA




4     LGC 231, LLC                    debbien@sunpm.net              Landlord                                                                    27,395
      6140 Brent Thurman
      Parkway, STE 140
      Las Vegas, NV 89148 USA


5     Fit for Commerce                (973) 379-7399                 Trade                                                                       22,500
      40 Highland Ave                 finance@fitforcommerce.com
      Short Hills, NJ 07078 USA




6     Fivetran Inc                    (415) 805-2799                 Trade                                                                       20,400
      405 14th Street, Suite 1100     ar@fivetran.com
      Oakland, CA 94612 USA




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 Debtor: NS8 Inc.                                                                              Case Number (if known):


Name of creditor and complete         Name, telephone number, and   Nature of the claim       Indicate if     Amount of unsecured claim
mailing address, including zip code   email address of creditor     (for example, trade       claim is
                                      contact                       debts, bank loans,        contingent,     If the claim is fully unsecured, fill in only
                                                                    professional services,    unliquidated,   unsecured claim amount. If claim is partially
                                                                    and government            or disputed     secured, fill in total claim amount and deduction
                                                                    contracts)                                for value of collateral or setoff to calculate
                                                                                                              unsecured claim.

                                                                                                              Total claim,     Deduction         Unsecured
                                                                                                              if partially     for value of      claim
                                                                                                              secured          collateral or
                                                                                                                               setoff
7     System3 B.V.                    niels@systems333.com          Trade                                                                        17,680
      Oudezijds Achterburgwal 237
      Amsterdam, 1012 DL
      Netherlands


8     Jamf Software                   (612) 605-6625                Trade                                                                        13,932
      100 Washington Ave S., Suite    receivables@jamf.com
      1100
      Minneapolis, MN 55401 USA


9     Crosby MarketWize               (415) 378-8830                Professional/Consulting                                                      12,500
      Consulting                      frederick@crosby-             Services
      1549 Vine Street                consulting.com
      Belmont, CA 94002 USA


10    Oracle of America, Inc          (650) 653-5342                Trade                                                                        12,275
      500 Oracle Parkway              orudolph@netsuite.com
      Redwood Shores, CA 94065
      USA


11    Paycore BV – Euro               +3(162) 895-6004              Professional/Consulting   Contingent,                                        10,919
      Pieter Kiesstraat 7             smkoolen@gmail.com            Services                  Unliquidated
      Haarlem, 2013 BC                                                                        and Disputed
      Netherlands


12    Hellmuth & Johnson PLLC         rzerbe@hjlawfirm.com          Professional/Consulting                                                      10,848
      8050 West 78th Street                                         Services
      Edina, MN 55439 USA




13    Fintechamps B.V.                accounts@fintechamps.com      Trade                                                                        10,835
      Prof. Hugo de Vrieslaan 82
      Utrecht, 3571 GK
      Netherlands


14    WeWork – Miami                  wework@wework.com             Landlord                                                                     9,927
      360 NW 27th Street
      Miami, FL 33127 USA




15    WeWork – Amsterdam              wework@wework.com             Landlord                                                                     9,330
      Weesperstraat 61-105
      Amsterdam, 1018 VN
      Netherlands


16    e2y Limited                     jorge.trigo@e2ycommerce.com   Trade                                                                        7,040
      Ntt     House      Waterfront
      Business Park, Fleet Road
      Hampshire,      GU51 3QT
      United Kingdom




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                                Case 20-12702-CSS               Doc 1        Filed 10/27/20           Page 33 of 33
 Debtor: NS8 Inc.                                                                              Case Number (if known):


Name of creditor and complete         Name, telephone number, and   Nature of the claim       Indicate if     Amount of unsecured claim
mailing address, including zip code   email address of creditor     (for example, trade       claim is
                                      contact                       debts, bank loans,        contingent,     If the claim is fully unsecured, fill in only
                                                                    professional services,    unliquidated,   unsecured claim amount. If claim is partially
                                                                    and government            or disputed     secured, fill in total claim amount and deduction
                                                                    contracts)                                for value of collateral or setoff to calculate
                                                                                                              unsecured claim.

                                                                                                              Total claim,     Deduction         Unsecured
                                                                                                              if partially     for value of      claim
                                                                                                              secured          collateral or
                                                                                                                               setoff
17    Sevans Strategy                 (224) 829-8820                Trade                                                                        5,000
      11060 Village Ridge Lane        prsarahevans@gmail.com
      Las Vegas, NV 89135 USA




18    WeWork – Singapore              wework@wework.com             Landlord                                                                     4,536
      15 Beach Road, 2nd Floor
      Singapore, 189677
      Singapore


19    WeWork - San Francisco          wework@wework.com             Landlord                                                                     4,416
      3001 Bishop Drive
      San Ramon, CA 94583 USA




20    Alain Mayer                     (415) 902-8681                Professional/Consulting                                                      3,667
      535 Dewey Blvd                  Alain.mayer@gmail.com         Services
      San Francisco, CA 94116
      USA




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